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    8                             UNITED STATES DISTRICT COURT

    9                           WESTERN DISTRICT OF WASHINGTON
    10   FAITH INTERNATIONAL ADOPTIONS,
         a Washington State non-profit corporation;
    11   AMAZING GRACE ADOPTIONS, a North
         Carolina non-profit corporation; and
    12   ADOPT ABROAD INCORPORATED, a
         Pennsylvania non-profit corporation,
    13
                         Plaintiffs,
    14
               v.                                      Case No. 2:18-CV-00731-RBL
    15
         MICHAEL R. POMPEO, Secretary for the          APPENDIX TO PLAINTIFFS’
    16   United States Department of State, in his     OPPOSITION TO GOVERNMENT
         official capacity; CARL C. RISCH,             DEFENDANTS’ MOTION TO
    17   Assistant Secretary of State for Consular     DISMISS
         Affairs, in his official capacity; BETH
    18   PAYNE, Director of the Office of Children’s
         Issues, in her official capacity; UNITED
    19   STATES DEPARTMENT OF STATE, and
         COUNCIL ON ACCREDITATION FOR
    20   CHILDREN AND FAMILY SERVICES,
         INC.,
    21
                         Defendants
    22

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    28   APPENDIX TO PLAINTIFFS’
         OPPOSITION TO GOVERNMENT
                                                                    ORRICK, HERRINGTON & SUTCLIFFE LLP
         DEFENDANTS’ MOTION TO DISMISS                                     701 Fifth Avenue, Suite 5600
         2:18-CV-00731-RBL                                               Seattle, Washington 98104-7097
1                                                                                 +1 206 839 4300
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    1

    2                                     CERTIFICATE OF SERVICE

    3              I hereby certify that on the date below, I caused the Appendix to Plaintiffs’ Opposition

    4    to Government Defendants’ Motion to Dismiss to be electronically filed with the Clerk of the

    5    Court using the CM/ECF system which will send notification of the filing to all counsel of

    6    record.

    7

    8    DATED: September 14, 2018                       ORRICK, HERRINGTON & SUTCLIFFE LLP

    9
                                                         By:     /s/ Robert M. McKenna
    10                                                         Robert M. McKenna (WSBA 18327)
                                                               rmckenna@orrick.com
    11
                                                               701 Fifth Avenue, Suite 5600
    12                                                         Seattle, WA 98104-7097
                                                               Telephone: 206-839-4300
    13                                                         Facsimile: 206-839-4301

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    28   APPENDIX TO PLAINTIFFS’
         OPPOSITION TO GOVERNMENT
                                                         -2-                  ORRICK, HERRINGTON & SUTCLIFFE LLP
         DEFENDANTS’ MOTION TO DISMISS                                              701 Fifth Avenue, Suite 5600
         2:18-CV-00731-RBL                                                         Seattle, Washington 98104-7097
2                                                                                           +1 206 839 4300
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                    HAGUE ACCREDITATION
                     AND APPROVAL


                       POLICIES



                       PROCEDURES
                          MANUAL
                              This document provides a general overview of key
                              elements of 22 CFR Part 96, the regulation governing
                              the accreditation and approval of intercountry adoption
                              service providers under the Intercountry Adoption Act of
                              2000. It is not a substitute for the actual regulation, nor
                              is it a comprehensive summary of the regulation. In the
                              case of any inconsistencies between this document and
                              the regulation itself, the language of the regulation
                              governs.




                                                    Council on Accreditation, Inc.

                                                    45 Broadway, 29th Floor

                                                    New York, NY 10006

                                                    PHONE - (212) 797-3000

                                                    FAX - (212) 797-1428

                                                    WEB - www.COAnet.org




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           Introduction to COA Hague Accreditation and Approval
           For more than twenty (20) years, COA has been at the forefront of working with
           intercountry adoption service providers to ensure that the needs and rights of children,
           biological families, and adoptive families are met. COA is especially proud to have
           been designated by the Department of State as the sole national accrediting entity
           under the Intercountry Adoption Act of 2000 (IAA). COA, as an approved accrediting
           entity, must perform all of its responsibilities in accordance with the Convention, the
           IAA, the regulations implementing the IAA, and its agreement with the U.S. Department
           of State.

           The terms “agency” and “person” as used in this document are defined in and
           governed by 22 CFR 96.2. For the reader’s convenience, the term “adoption service
           provider” is used throughout this document and may be either an agency or a person.
           An agency means a private, nonprofit organization licensed to provide adoption services
           in at least one State. A person means an individual or a private, for-profit entity that may
           be organized as a corporation, company, association, firm, partnership, society, or joint
           stock company; or other legal entity under the laws of any state.


    A. Overview of Hague Accreditation and Approval Policies and Procedures

    This document provides a general overview of key elements of 22 CFR Part 96, the
    regulation governing the accreditation and approval of adoption service providers under the
    Intercountry Adoption Act of 2000. It is not a substitute for the actual regulation, nor is it
    a comprehensive summary of the regulation. In the case of any inconsistencies
    between this document and the regulation itself, the language of the regulation
    governs.

    This document sets forth the accreditation and approval policies and procedures of COA‟s
    Hague accreditation/approval process. It covers:

           Accepting applicants for accreditation or approval.
           Facilitating the accreditation or approval review process.
           Assessing the adoption service provider‟s substantial compliance with the standards for
            accreditation or approval, as applicable, in 22 CFR part 96 (the “Hague Standards”), in
            accordance with the substantial compliance system.
           Reaching accreditation and approval decisions.

    B. Elements of Hague Accreditation and Approval Process

    COA‟s policies and procedures encompass the following elements:

           Standards set forth in 22 CFR Part 96 regulations.
           A self-study process that actively engages the adoption service provider and provides a
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           first opportunity for correction of deficiencies.
          Trained, independent evaluators that evaluate adoption service providers‟ compliance
           with the Hague standards during a site visit.
          A trained Commission that assesses substantial compliance with applicable Hague
           standards, in accordance with the substantial compliance system, and reaches
           accreditation or approval decisions.
          An objective decision-making process that is free from conflict of interest.
          A decision-making process that allows applicants to respond to ratings and reports by
           providing evidence that non-compliance with the Hague standards has been corrected.
          An internal review process for certain actions.
          Disclosure of information to the public on accreditations, previous temporary
           accreditations, and approvals.
          Continuous monitoring of Hague standards compliance during the period between
           cyclical accreditation and approval reviews.

     C. Self-Study Process

     A key component to becoming accredited or approved is for the adoption service provider to
     undertake a formal self-study. The Guide to Hague Accreditation and Approval contains the
     Hague standards and information about pre-site and on-site evidence, as well as on-site
     activities required by COA. Adoption service providers use the Guide to Hague Accreditation
     and Approval throughout the self-study period as they prepare required information for the
     review process. See §VI Self-Study and §VII Site Visit for more information.

     D. Accreditation/Approval and Regulation

     COA has been designated by the U.S. Department of State to accredit/approve those
     adoption service providers that are in or show capacity to be in substantial compliance with
     applicable Hague standards. The memorandum of agreement between COA and the U.S.
     Department of State authorizes how COA will carry out its functions and responsibilities as an
     accrediting entity.

     Hague accreditation or approval signifies that an adoption service provider has demonstrated
     substantial compliance with applicable Hague standards through a process that includes a
     rigorous review by competent evaluators who determine, on a standard-by-standard basis,
     whether an adoption service provider is in substantial compliance with applicable Hague
     standards, in accordance with the substantial compliance system.

     E. Customer Service

     COA is committed to providing an accreditation or approval review process that is objective,
     comprehensive, and fair, in accordance with the Intercountry Adoption Act and its
     implementing regulations.

     COA is available to answer questions, provides assistance, and problem solving to adoption
     service providers who have applied for accreditation or approval, during the accreditation/
     approval process and following accreditation or approval.
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     COA encourages adoption service providers to communicate with appropriate COA
     representatives and make them aware of any concerns as they arise. If, for any reason, an
     adoption service provider is dissatisfied with a response or solution offered by a COA
     representative, COA encourages the adoption service provider to contact the representative‟s
     supervisor or COA‟s Director of Quality Services Management. Written complaints should be
     addressed to COA, 45 Broadway, 29th Floor, New York, NY 10006, ATTENTION: QSM or via
     e-mail to the Director of Quality Services Management at: reportaconcern@coanet.org, or via
     fax to the attention of QSM at: 212.797.1428.

     F. Publications

     The Guide to Hague Accreditation and Approval is available at: www.COAnet.org. COA, as
     required by the Intercountry Adoption Act of 2000 (IAA) uses the procedures and standards
     contained in the regulations at 22 CFR Part 96 in accrediting and approving adoption service
     providers. Adoption service providers may consult the U.S Department of State‟s website,
     www.travel.state.gov, and Federal Register for information on the standards governing Hague
     accreditation and approval.

     G. Updates and Clarifications to Policies, Procedures, Guide to Hague Accreditation
        and Approval, and Hague Standards
     Periodically, COA updates or issues clarifications to its policies and procedures governing the
     accreditation or approval process. Substantial revisions to COA's policies and procedures will
     be issued with an effective date. Adoption service providers are expected to regularly
     review clarifications and changes to the policies and procedures document on COA's
     website, www.COAnet.org. Changes to the policies and procedures and to the Guide to
     Hague Accreditation and Approval are effective at the time of their posting.




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              I: Provision of Required Information by Adoption
                           Service Providers to COA
         Hague accreditation or approval by COA is available to adoption service providers
         regardless of their size, structure, or revenue, as long as the adoption service provider
         complies with the process set forth in written COA procedures and understands that
         application acceptance does not guarantee accreditation or approval.

         Once the Convention has entered into force for the United States, an adoption service
         provider may not offer, or provide, or facilitate the provision of any adoption services in
         the United States in connection with a Convention adoption unless it is an accredited
         agency, an approved person, a supervised provider, or an exempt provider (see 22
         CFR 96.12). Civil and/or criminal penalties may apply in accordance with section 404 of
         the IAA.


     A. Maintenance of Required Licenses/Notification of Action Against

     An adoption service provider must be properly licensed or otherwise authorized by state
     law to provide adoption services in at least one state and must maintain all required
     licenses (see 22 CFR 96.30). At the time of applying for accreditation or approval, the
     adoption service provider will provide to COA copies of its licenses or other authorizations
     and any other necessary information on the status of its licenses or authorizations.

     An adoption service provider must inform COA of the following changes to its license
     status:

          Loss of foreign and domestic licenses or authorizations
          License restrictions (e.g., provisional or probationary status)
          On-going regulatory investigations or reviews
          On-going corrective or other responsive action to current license restrictions.

     COA requires each adoption service provider throughout the accreditation or approval
     process and during its accreditation cycle to disclose any loss of a license or
     authorization, or any other change in the condition of a license or authorization, e.g.,
     provisional license, probationary status, or other compromised status imposed by
     licensing/regulatory authorities (see 22 CFR 96.25, 96.30, 96.35(b), 96.96(a)(13)).

     A first-time applicant for Hague accreditation/approval must notify COA in writing within
     ten (10) business days of any license loss or revocation and twenty (20) business days of
     any other adverse action taken by a licensing or other authority against an adoption
     service provider‟s license or authorization.



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     An adoption service provider may be required to make information about its current license
     or authorization, any adverse action(s) against its license or authorization, and any
     evaluation reports issued by the licensing authority available at the time of the site visit for
     review by the evaluation team.

     COA has the discretion to request additional documents or information from the adoption
     service provider at any time. If an adoption service provider fails to provide requested
     documents or information, or to make employees available as requested, COA may deny
     accreditation or approval, or in the cases of an accredited agency or approved person, take
     appropriate adverse action against the agency or person solely on that basis (22 CFR
     96.25(c)).

     B. Additional Notifications

     COA requires each first-time applicant for Hague accreditation/approval throughout the
     accreditation or approval process as well as all accredited/ approval adoption service
     providers during the accreditation cycle to inform COA of the loss of the right to provide
     services, debarment, pending investigations, or criminal charges, and/or disclose any
     changes in information (see 22 CFR 96.35) (see §X. Monitoring and Oversight).

     C. Burden of Demonstrating Substantial Compliance

     The burden of demonstrating substantial compliance is on the applicant for accreditation or
     approval. COA cannot determine in advance of the accreditation or approval process
     whether or not a particular applicant will be able to demonstrate substantial compliance with
     applicable standards, in accordance with the substantial compliance system. It is the
     responsibility of each individual applicant to determine if it can substantially comply with
     applicable standards, in accordance with the substantial compliance system, before signing
     an accreditation or approval agreement and submitting the fee to pursue accreditation or
     approval.

     COA may cease any accreditation or approval process at any time.

     It is the responsibility of the adoption service provider to meet all requirements for
     accreditation or approval.




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                        II: Application and Renewal Application
            Application instructions and procedures are available on COA’s website for any
            adoption service provider considering accreditation or approval. First-time applicants
            may submit an application at any time. COA provides a timely evaluation and response
            to all submitted applications. COA has established and follows uniform application
            procedures for adoption service providers seeking accreditation or approval (see 22
            CFR 96.18(a)).

            COA processes all first-time applications, re-applications, or renewal requests (see 22
            CFR 96.63(c) and §XI Request for Renewal of Accreditation and Approval) for
            accreditation/approval in a timely manner.


     A. Corporate Structure

     Adoption service providers seeking accreditation or approval may be either an agency or
     person (see 22 CFR 96.31). An agency must qualify for non-profit tax treatment under section
     501(c)(3) of the Internal Revenue Code of 1986, as amended, or for non-profit status under the
     laws of any state. A person is an individual or for-profit entity organized as a corporation,
     company, association, firm, partnership, society, or joint stock company; or other legal entity
     under the laws of any State.

     B. Obtaining an Application

      An adoption service provider interested in applying for accreditation or approval for the first
      time should contact COA‟s Client Relations Department. An electronic application is available
      on COA‟s website at www.COAnet.org.

     C. Application Requirements

      An adoption service provider submits the following with its completed application:

             An application fee (nonrefundable)
             Most recent income tax return (i.e., Form 990)
             Copy of certification of incorporation (organizations only)
             Copy of 501(c)(3) status letter (if applicable)
             A current organizational chart (organizations only)

      See §I Accreditation or Approval, regarding licensing requirements and §V Accreditation or
      Approval Plan.

     D. Application Receipt and Processing

      Upon receipt of a completed application and the application fee, COA calculates the
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     accreditation or approval fee. The application requires the signature of the individual
     adoption service provider or the adoption service provider‟s president/chief executive
     officer/chief administrator. COA confirms receipt and processing of an application by sending
     the adoption service provider a letter, Hague Accreditation or Approval Agreement, and
     payment form.

     E. Correlation Between Application Receipt and Eligibility for Accreditation or
        Approval

     Receipt of a completed application is no guarantee that the adoption service provider can
     substantially comply with applicable Hague standards in accordance with the substantial
     compliance system, or that the adoption service provider will be accredited or approved by
     COA. Adoption service providers should consult Subpart C of 22 CFR Part 96 to determine
     themselves if they must be accredited or approved to provide adoption services. Criminal and
     civil penalties may apply to adoption service providers who provide adoption services without
     being accredited or approved (see Section 404 of the Intercountry Adoption Act of 2000
     (IAA)).

     F. Holding an Adoption Service Provider Out as Accredited or Approved

     An adoption service provider who is a first-time applicant or re-applicant for
     accreditation/approval may not identify itself as accredited or approved prior to formal
     notification of COA‟s accreditation or approval decision (see 22 CFR 96.58).


     G. Disclosure of Applicant or Renewal Status

     COA discloses the names of adoption service providers that have applied for Hague
     accreditation or approval and those seeking renewal of their accreditation/approval in
     accordance with COA‟s disclosure policy and procedure. See §XVI Confidentiality and
     Disclosure of Information for additional information about COA‟s public disclosure (see also
     22 CFR 96.91) and confidentiality practices.


     H. Application for Renewal of Accreditation or Approval

     COA advises in writing all accredited or approved adoption service providers that it monitors
     of the date by which they must seek renewal of their accreditation or approval so that the
     process can reasonably be completed prior to the expiration of their current accreditation or
     approval (see §XI Request for Renewal of Accreditation and Approval).




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             III: Accreditation and Approval Fees
     The accreditation or approval fee schedule details the exact amounts for each fee
     charged by COA for becoming and maintaining accreditation or approval. The
     accreditation or approval fee is calculated using budgeted revenue information for an
     agency or individual’s Hague intercountry adoption program, which is submitted by the
     adoption service provider. COA’s fee schedule is governed by 22 CFR.96.8 and
     approved by the U.S. Department of State.

     Adoption service providers should consult COA's website at www.COAnet.org for the
     Fee Schedule for Hague Accreditation and Approval.




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                     IV: Accreditation or Approval Agreement
         The Hague Accreditation or Approval Agreement, which must be signed by the adoption
         service provider and COA, stipulates the accreditation, or approval fee an adoption
         service provider agrees to pay to undergo COA’s accreditation or approval process,
         and establishes the additional enforceable terms for these processes. In all cases, the
         provisions of 22 CFR Part 96 governs.

     A. Accreditation or Approval Agreement

     The accreditation or approval agreement sets forth the accreditation or approval fee and other
     related expenses an adoption service provider agrees to pay to undergo these processes and
     describes the understanding reached between an adoption service provider and COA related
     to the scope of the adoption service provider‟s accreditation or approval.

     The accreditation or approval agreement requires the signature of COA‟s President/CEO, or
     his/her designee, and the individual adoption service provider or the adoption service
     provider‟s chief executive officer or chief administrator. It is a binding legal document. See §III
     Accreditation or Approval Fees regarding the accreditation or approval fees.

     COA allows for an adoption service provider to sign its accreditation or approval agreement
     within one year from the date of application. If the adoption service provider is unable to meet
     this timeframe, COA requires that the adoption service provider submit a new application.

     B. Additional Contracts

     The use of a contract in addition to or in lieu of the accreditation or approval agreement
     requires the review and approval of COA‟s President/CEO, or his/her designee.

     C. Disclosure of Information

     Section 96.20 of 22 CFR governs the disclosure of information. The accreditation or approval
     agreement, or a separate written disclosure of information form signed by the adoption
     service provider, may set forth any additional, specific arrangements for the disclosure of
     information to, among others, regulatory entities and others. Such agreements must be
     consistent with 22 CFR Part 96. See also §XVI Confidentiality and Disclosure of Information.




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                           V: Accreditation or Approval Plan
        COA reviews all adoption services provided by an adoption service provider, either
        directly or through arrangements with other providers.


     A. Accreditation or Approval Plan Development

     COA expects the adoption service provider to cooperate with completing all required COA
     assessment information that support the development of an individualized and complete
     accreditation or approval plan. During an adoption service provider‟s intake, COA‟s staff
     assesses the adoption service provider and develops an accreditation or approval plan,
     including a timetable for the accreditation or approval process. If the adoption service
     provider has a conflict with the site visit date or cannot adhere to the timetable, the adoption
     service provider must immediately contact its Accreditation Coordinator.

     The adoption service provider is also assessed during intake to determine if it provides
     adoption services in connection with incoming cases and/or outgoing cases for inclusion in its
     accreditation or approval review. COA utilizes an adoption service provider‟s brochures and
     other information submitted at application, written service descriptions completed by the
     adoption service provider, and discussions with the adoption service provider to determine
     whether the adoption service provider provides adoption services in connection with outgoing
     cases, incoming cases, or both. If COA and the adoption service provider are unable to
     agree on the scope of the review, the final decision rests with COA.

     An adoption service provider must include a certification in its self-study regarding the
     services provided and must promptly notify its Accreditation Coordinator in writing of any
     additional Convention adoption services it initiates or discontinues in order to allow COA to
     include the additional services as part of the ongoing review process or otherwise amend the
     scope of the review, if appropriate.




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                                           VI: Self-Study
        The purpose of the self-study is to provide an opportunity for an adoption service
        provider to strengthen its capacity and adopt best practices that will reflect the
        requirements of the Convention, the IAA, and the regulations implementing the IAA.
        The self-study establishes the framework for a fair and comprehensive accreditation, or
        approval process. It serves as a systematic way of examining and evaluating the
        adoption services provider’s substantial compliance with applicable Hague standards, in
        accordance with the substantial compliance system.

     A. The Function of the Self-Study

     COA views the accreditation or approval process as an opportunity for an adoption service
     provider to strengthen its capacity and to employ a performance/quality improvement
     process. The self-study is a key component of COA‟s Hague accreditation or approval
     process and provides the first opportunity for an adoption service provider to demonstrate
     its substantial compliance with applicable Hague standards, in accordance with the
     substantial compliance system.

     The self-study process engages an adoption service provider in self-assessment and acts as
     a guide to improving service delivery. The self-study process requires the participation and
     involvement, as applicable, of the adoption service provider‟s staff, governance/advisory
     councils, and consumers.

     The self-study also serves as the framework for the site visit. An evaluation team reviews
     an adoption service provider‟s self-study information prior to coming on site. The self-study
     serves as a guide and a first source of evidence for the evaluation team to determine the
     adoption service provider‟s substantial compliance with applicable Hague standards, in
     accordance with the substantial compliance system.

     B. Completion of the Self-Study/Duty to Provide

     COA‟s Accreditation Coordinator provides the adoption service provider with a timetable for
     completing the accreditation or approval process. This timetable sets forth the date by which
     the self-study information is due. An adoption service provider‟s failure to meet the
     established timeline can result in a delay of the accreditation or approval process by COA.

     An adoption service provider must generally provide its completed self-study to COA no later
     than six (6) weeks prior to its scheduled site visit. This allows the evaluation team adequate
     time to review the information before the site visit. Following the adoption service provider‟s
     accreditation/approval, it must retain a cop(ies) of its self-study and make it available to the
     evaluators during a renewal site visit.




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                                            VII: Site Visit
        A site visit follows the self-study and allows for additional verification of the adoption
        service provider’s eligibility for accreditation or approval and its level of compliance with
        applicable Hague standards (see Subpart F 22 CFR Part 96). The site visit allows for
        verification of the information provided through direct review of the adoption service
        provider’s written application and supporting information.

        Verification methods may include, but are not limited to, the review of on-site
        documents, observation of services, and interviews with personnel, consumers, and any
        other individuals knowledgeable about the adoption service provider’s provision of
        service (i.e., leadership, governance/advisory body or council, and other internal or
        external stakeholders as applicable). Consumers may include birth parents, adoptive
        parent(s), prospective adoptive parent(s), and adult adoptee(s) served by the adoption
        service provider (see 22 CFR 96.24).

         A group of two or more evaluators who meet pre-determined, written qualification
        requirements conduct a site visit. A site visit is conducted pursuant to protocols that
        include a code of permissible and prohibited conduct for both the adoption service
        provider and the evaluators. COA provides adoption service providers the opportunity
        to raise legitimate concerns about the performance of evaluators.

        The findings from the evaluators’ review of an adoption service provider are included in
        a Pre-Commission Report that is prepared by COA following the site visit. COA offers
        the adoption service provider the opportunity to respond to non-compliant ratings set
        forth in the Pre-Commission Report by providing additional information or
        demonstrating, to the satisfaction of COA, correction of deficiencies and substantial
        compliance with applicable Hague standards, in accordance with the substantial
        compliance system.


     A. The Evaluation Team

        1. Evaluators

           a. Qualifications

              COA‟s evaluators meet qualifications pursuant to 22 CFR 96.24(a). The
              evaluators are trained COA volunteers who review an adoption service provider‟s
              level of compliance with applicable Hague standards based upon the adoption
              service provider‟s self-study document and site visit. COA‟s evaluators are
              experienced professionals who have been trained in the Hague accreditation or
              approval process, the Hague standards, and the substantial compliance system.


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         b. Training

            Evaluators undergo basic and specialized training in accordance with COA‟s
            requirements. Completing the training is a prerequisite for serving as an
            evaluator. Evaluators that do not conduct a site visit for within a two-year period
            of time must reapply with COA and, if approved, attend training again in order to
            conduct future site visits.

            COA trains evaluators to determine the level of the adoption service provider‟s
            compliance with applicable Hague standards and apply rating indicators to an
            adoption service provider‟s procedures, practices, and performance. Evaluators
            are expected to exercise professional judgment in the conduct of their work
            during a site visit.

     2. Team Leaders

         COA assigns a team leader to each evaluation team. The team leader‟s role is to
         manage and coordinate all site visit activities for his/her assigned team. The team
         leader is ultimately responsible for the team‟s performance and assures that the
         team functions in accordance with the Peer Reviewer Code of Conduct.

     3. Team Size and Composition

        The evaluation team consists of at least two (2) evaluators, one of whom acts as the
        team leader (see 22 CFR 96.24). However, for large, multi-site or multi-state
        adoption service providers, larger teams may be necessary. This determination is
        made by COA in consultation with the adoption service provider applying for
        accreditation or approval. COA advises an adoption service provider of the estimated
        number of evaluators at the time it confirms the accreditation or approval process
        timeline. COA reserves the right to increase or decrease the number of evaluators at
        any time during the accreditation/approval process when, in its opinion, a different
        number of evaluators are needed to carry out the activities necessary to determine
        an adoption service provider‟s level of compliance with applicable Hague standards.

     4. Selection of Team

        Evaluation team assignments are based on compatibility with the adoption service
        provider and professional expertise. COA considers a team member‟s professional
        background and expertise to determine the appropriate fit with an adoption service
        provider‟s program(s) and structure.

     5. Duty to Disclose Conflict of Interest or Appearance Thereof



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           The COA accreditation and approval process prides itself on objectivity. Therefore,
           evaluators and adoption service providers are required to notify COA in writing of any
           actual or apparent conflict(s) of interest as soon as they are aware of its existence.
           COA reserves the right to make the final determination about evaluator assignment.
           COA‟s determination is not subject to review.

           To prevent conflict of interest, evaluators are not allowed to conduct site visits in the
           geographic area of their residence or employment. However, in some rare
           circumstances exceptions will be made. Evaluators are prohibited from becoming
           employees or supervised providers of an agency or person for at least one (1) year
           after they have evaluated such agency or person for accreditation or approval (see
           22 CFR 96.6 (j)).

       6. Review and Approval of the Team

           COA notifies the adoption service provider of the evaluation team assignment and
           permits the adoption service provider to present objections at that time. COA
           changes an evaluator assignment only if the adoption service provider presents a
           valid objection (e.g., the assignment creates a conflict of interest).

       7. Confidentiality

           An adoption service provider‟s accreditation or approval process, including the site
           visit, is of a confidential nature (see 22 CFR 96.26). Evaluators during the site visit
           have confidential information communicated to them and access confidential files of
           the adoption service provider, including the private information of consumers. COA
           requires evaluators to sign a confidentiality agreement and comply with its
           requirements.

     B. Site Visit Activities

       1. Scheduling of Activities

           The team leader develops a tentative site visit agenda, consulting directly with the
           adoption service provider. The adoption service provider is expected to provide
           access to information and documents and accommodate all reasonable requests of
           the team leader. The adoption service provider should contact its Accreditation
           Coordinator if it is unable to carry out a request.

           The site visit includes, but is not limited to:

           -       An entrance meeting of the evaluation team and the adoption service provider
                   to which the individual adoption service provider or the chief executive
                   officer/chief administrator invites, as applicable, governing/advisory body
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                members, management staff, and all other appropriate individuals. The
                purpose of the entrance meeting is to provide a formal platform to introduce the
                evaluation team and outline the site visit process.
        -       Facility visit(s), in accordance with COA‟s sampling guidelines.
        -       Staff interviews that include managerial and non-managerial employees, as
                requested.
        -       Governing/advisory body interviews, as applicable.
        -       Review of case records, personnel files, financial records, and, if applicable,
                minutes of governing body/advisory council and committee meetings, and other
                requested information in accordance with COA‟s sampling requirements.
                Pursuant to 22 CFR 96.25(b), in the case of first-time applicants for
                accreditation or approval COA may review adoption case records related to
                non-Convention cases for the purposes of assessing the adoption service
                provider's capacity, as required by the standards. COA shall permit the
                adoption service provider to redact/de-identify names and other identifying
                information pertaining to birth parent(s), prospective adoptive parent(s), and
                adoptee(s) from such non-Convention adoption records prior to their inspection
                by COA (see 22 CFR 96.25).
        -       The observation of routine adoption service provider activities.
        -       Consideration of complaints about the adoption service provider and follow up
                accordingly with the adoption service provider while on site.
        -       Consumer interviews, in accordance with the Guide to Hague Accreditation and
                Approval and as deemed necessary by the evaluation team.
        -       Community representative interviews, when deemed necessary by the
                evaluation team.
        -       An exit meeting with the individual adoption service provider or the
                management and governing body/advisory council of an agency providing
                adoption services. The purpose of the exit meeting is to provide a formal
                platform to conclude the on-site review. The evaluator team highlights their
                findings and explains the next steps in the process.

     2. Site Visit Duration

        COA determines the site visit duration by considering the scope of adoption services
        provided and service delivery locations. COA reserves the right to extend the length of
        a site visit to determine an adoption service provider‟s compliance with applicable
        Hague standards if necessary. The team leader may request that COA lengthen the
        site visit if, in preparing for or conducting a site visit, the evaluation team determines
        that additional time is necessary to make an appropriate determination or assessment
        of the adoption service provider‟s level of compliance with applicable Hague standards.
        The adoption service provider is responsible for all fees and other charges associated
        with extending a site visit.

     3. Consideration of Additional Information
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           The evaluation team reviews any “additional information” about an adoption service
           provider supplied by COA (see also §IX Commission Decision-Making, section A (4)).
           When possible, COA provides the adoption service provider with the opportunity to
           respond to the “additional information” before the site visit. COA provides any adoption
           service provider response to “additional information” to the evaluation team for review.
           COA also provides the adoption service provider with the opportunity to respond to the
           evaluation team‟s conclusions about “additional information.”

     C. Pre-Commission Report Preparation and Distribution

       1. Ratings

           After the conclusion of the site visit, the evaluation team prepares ratings and
           comments for inclusion into the Pre-Commission Report. The evaluation team
           determines the Pre-Commission Report ratings by assessing substantial compliance
           with applicable Hague standards, in accordance with the substantial compliance
           system. The Guide to Hague Accreditation and Approval discusses the substantial
           compliance system and the rating methodology approved by the U.S. Department of
           State. See also §VIII Substantial Compliance System.

       2. Pre-Commission Report Completion

           Upon receiving the completed rating sheets and comments from the evaluation team,
           COA prepares the Pre-Commission Report. The Pre-Commission Report is sent to
           the adoption service provider for review and response based on guidelines provided
           by COA.

       3. Opportunity to Respond to Pre-Commission Report

           COA requires that the adoption service provider to respond in writing to applicable
           Hague standards in the Pre-Commission Report with ratings not meeting the
           substantial compliance system. Failure of the adoption service provider to respond
           can result in COA ceasing the adoption service provider‟s accreditation or approval
           process.
           COA provides the adoption service provider‟s response to the Pre-Commission
           Report to the team leader on behalf of the evaluator team for comment. The Pre-
           Commission Report and the adoption service provider‟s response, along with any
           team leader comment, are the primary sources of information for the Commission
           during its review and decision-making process.

       4. Non-disclosure of Pre-Commission Report



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           The Pre-Commission Report is a document that is internal to the accreditation or
           approval decision-making process and may not be disclosed by the adoption service
           provider outside of the context of its accreditation or approval process or be used by
           the adoption service provider as evidence of performance or an indication of a likely
           accreditation or approval decision.

     D. Evaluator and Adoption Service Provider Responsibilities

       1. Role and Function

           The role of the evaluator team is to assess an adoption service provider‟s substantial
           compliance with applicable Hague standards, in accordance with the substantial
           compliance system. The evaluators gather and review data and other information to
           assess the adoption service provider's compliance level with individual standards.

           At the time of the exit meeting, the evaluation team comments generally about the
           adoption service provider‟s strengths and weaknesses. The adoption service provider
           is also made aware of standards for which ratings may be at a level of non-
           compliance.     Evaluators are prohibited, however, from discussing the actual
           numerical ratings with the adoption service provider. COA provides the adoption
           service provider a Pre-Commission Report after the site visit, which details the
           adoption service provider‟s standard-by-standard ratings.

           Evaluators are also prohibited from stating whether an adoption service provider will
           or will not be accredited, or approved and, in fact, do not know whether an adoption
           service provider will be accredited or approved. The evaluation team does not have
           the authority to make a decision about an adoption service provider‟s accreditation or
           approval, as an accreditation or approval decision is based not only on the Pre-
           Commission Report, but also on the adoption service provider‟s response to the Pre-
           Commission Report, evaluator comments, and any additional information related to
           compliance with the Hague standards.

           Evaluators are prohibited from providing advice to the adoption service provider as
           part of the site visit process. Evaluators are also prohibited from providing or
           receiving any consultation or other services to or from an adoption service provider
           they review for a one-year period dating from the date the adoption service provider
           is accredited, approved, denied accreditation or approval, or has an adverse action of
           cancellation or suspension imposed.

           The site visit process begins when the evaluation team receives the self-study for
           pre-site visit review/assessment and continues through all on-site review activities.
           Adoption service providers are prohibited from contacting the evaluation team for
           additional information after the site visit has concluded. Any additional information


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        needed by the adoption service provider must be requested from the Accreditation
        Coordinator.

     2. Duty of Evaluators to Report Observations

        While evaluators are obligated to report non-compliance with applicable Hague
        standards and concerning performance to COA for inclusion in the Pre-Commission
        Report, an evaluator or COA may also have a legal or ethical obligation to report
        information to a regulatory authority (see 22 CFR 96.72) in accordance with law or
        professional codes of ethics.

     3. Evaluation

        COA employs a post-site visit evaluation process to improve evaluator performance
        and the site visit process for all stakeholders.

        The site visit experience, evaluators, and team leaders are systematically evaluated
        after each site visit by:

        a. the adoption service provider;
        b. the team leader; and,
        c. the evaluators themselves.

        Team leader performance is also evaluated by:

        a. the adoption service provider; and,
        b. the evaluators.

        COA provides evaluators with a report of the overall evaluation results and also
        addresses concerns, as needed, with a specific evaluator‟s performance on an
        individual basis. COA does not provide an adoption service provider with these
        evaluation results.




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                   VIII: Substantial Compliance System
     The Guide to Hague Accreditation and Approval sets forth a substantial compliance
     system that specifies the relative values or weights of the Hague standards and
     defines the process that will be used to assess substantial compliance with the
     standards. The substantial compliance system and the value assigned to each
     standard (or the elements of each standard) are available to all potential and actual
     applicants for accreditation/approval on COA’s website at www.COAnet.org.

     The substantial compliance system and its rating methodology are governed by 22
     CFR 96.27 and have been approved by the U.S. Department of State.




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                                  IX: Decision-Making
        The decision-making making process utilized by COA is governed by 22 CFR Part 96.
         COA’s review and decision-making affords applicants seeking Hague accreditation or
         approval or a renewal of Hague accreditation or approval a fair and impartial decision-
         making process. COA’s decision-making process incorporates multiple levels of review
         and the collective exercise of professional judgment.

     A. Commission

       1. Composition

          The Commission is the decision-making body that reviews Pre-Commission Reports
          and responses of the adoption service provider to the report for purposes of reaching
          accreditation or approval decisions.

          All participants in the Commission are Commissioners, team leaders, evaluators or
          COA senior managers. Decision-making participants are qualified individuals with
          professional backgrounds that enable thoughtful and skillful participation in the
          decision-making process.

          COA‟s President/CEO approves individuals nominated to serve as Accreditation
          Commissioners.
          An internal committee process, chaired by a COA manager, is authorized by the
          President/CEO and the Commission to perform the decision-making functions and is
          authorized to make accreditation or approval decisions on behalf of the Commission.

       2. Responsibility

           The Commission is responsible for cyclical accreditation or approval decision-
           making.

       3. Accreditation or Approval Decision-Making

          The Commission meets regularly to render accreditation or approval decisions and
          reviews the following information in connection with making an accreditation or
          approval decision:

           a. The Pre-Commission Report
           b. “Additional information,” as described in paragraph four (4)
           c. Additional evidence of compliance submitted by the adoption service provider in
              response to the Pre-Commission Report, if any
           d. Evaluator comments about the adoption service provider‟s responses, if any


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            The Commission reviews all documentation in a manner free from conflict of interest.
            Any Commissioner with an actual or apparent conflict of interest must recuse
            himself/herself from any decision on rating changes and voting. COA considers a
            Commissioner who served as one of the evaluators for the underlying site visit to
            have a conflict of interest.

       4. Additional Information

            COA reviews any “additional information” about an adoption service provider
            supplied to it and considers it appropriately as part of decisions on applicants for
            accreditation or approval. “Additional information” includes complaints (see 22 CFR
            96.9) received by COA regarding matters and allegations of misconduct, which, if
            true, could have an impact on the adoption service provider becoming accredited or
            approved. When possible, COA provides the adoption service provider with the
            opportunity to respond to the “additional information” before providing it to the
            Commission. COA provides any adoption service provider‟s response to “additional
            information” to the Commission for consideration.

     B. Possible Decisions for New Applicants

        New applicants include adoption service providers seeking accreditation or approval:

           for a first time,
           following a denial or cancellation of accreditation,
           following expiration of accreditation or approval, or
           following a voluntary withdrawal of a new application for accreditation or approval.

       1. Accreditation and Approval

            New applicants for accreditation or approval must meet the requirements of the
            substantial compliance system to be eligible for accreditation or approval (see 22
            CFR 96.27). Following demonstration by the adoption service provider to the
            satisfaction of COA of its substantial compliance with the Hague standards,
            accreditation or approval is awarded.

            All new applicants for accreditation/approval shall receive written notification (e-mail)
            from COA of accreditation or approval decision.

            COA reserves the right not to provide a formal notification of accreditation or
            approval letter, certificate, and a final accreditation report until all fees incurred for
            accreditation or approval have been paid.

            The accreditation or approval cycle is effective for a period of four years and from
            the date of the decision.

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          See the §VIII Substantial Compliance System or the Guide to Hague Accreditation
          and Approval for information on the substantial compliance system.

     2.   Denial of a New Application for Accreditation or Approval

          a.       Reasons for Denial

                   COA may decide to deny a new applicant accreditation or approval for any of
                   the following reasons:

                      The adoption service provider fails to make employees available as
                       requested during the accreditation or approval review process, respond to
                       requests for information or documentation by COA staff, evaluator, or the
                       Commission, or provide or disclose any other information that is or would
                       have been germane to an accreditation or approval decision (see 22 CFR
                       96.25).
                      The adoption service provider is not in substantial compliance with
                       applicable Hague standards, in accordance with the substantial
                       compliance system (see 22 CFR 96.27).
                      The adoption service provider‟s self-study materials or other information
                       (written application and supporting information) could not be verified
                       through examination of underlying information as necessary to evaluate
                       the adoption service provider‟s eligibility for accreditation or approval (see
                       22 CFR 96.24).

           b.     Notification of Denial

                   COA will provide all adoption service providers with a written and dated
                   notification which will clearly describe the reason(s) for COA‟s decision to
                   deny accreditation or approval. This notification will also include a final
                   accreditation report detailing the ratings of compliance and reconsideration
                   procedures.

           c.     Effective Date

                   COA, through its President/CEO, will notify an adoption service provider in
                   writing of the effective date for the denial. The effective date will be thirty (30)
                   days from the date of the decision.

               d. Effect of Denial




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              COA will notify the U.S. Department of State of the denial (see 22 CFR
              96.93). Denial of accreditation or approval is public information (see 22 CFR
              96.91) and will be published on the U.S. Department of State‟s website.
              COA takes the reason(s) for its previous denial of temporary accreditation,
              accreditation, or approval of an adoption service provider into account when
              evaluating that provider‟s subsequent applications for accreditation or
              approval (see 22 CFR 96.27(e)).

         e.   Petition for Reconsideration of Denial

              A new applicant that is denied accreditation or approval may petition COA for
              reconsideration (see 22 CFR 96.59).

              The adoption service provider must submit a written request to COA‟s
              CEO/President for reconsideration that sets forth evidence that:

                demonstrates to the satisfaction of COA that previously identified
                 deficiencies have been corrected; and/or,
                there exist changed circumstances demonstrating the likelihood of
                 substantial compliance with applicable Hague standards, in accordance
                 with the substantial compliance system.

               The adoption service provider must submit its petition within sixty (60) days
              of receiving the notification of the denial.

              COA‟s Special Committee will review the adoption service provider‟s request
              and supporting evidence. COA will notify the adoption service provider of the
              date for its review of the petition. COA reserves the right to request additional
              information to determine if the deficiencies have been corrected.

              COA, through its CEO/President, will notify in writing the adoption service
              provider of its decision regarding the adoption service provider‟s petition for
              reconsideration.

              The decision of COA with regard to an adoption service provider‟s request for
              reconsideration is final and is not subject to further review.

         f.   Re-application

              An applicant that is denied accreditation or approval may reapply after the
              denial. COA has the discretion to require the adoption service provider to
              wait for a period of up to one (1) year before recommencing (re-application)
              the accreditation/approval process. The one (1) year period of time for
              recommencing the accreditation/approval process begins from the date of
              COA‟s determination (upholding the denial) in response to the adoption
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                 service provider‟s petition for reconsideration or the effective date of the
                 denial, whichever is later.

                 If COA exercises its discretion to require the adoption service provider to wait
                 a period of time up to (1) one year before recommencing the accreditation/
                 approval process, the adoption service provider may submit a written request
                 for “early re-application” to COA‟s President/CEO. This written request must
                 set forth evidence that there exist changed circumstances demonstrating the
                 likelihood of sufficient compliance with the Hague standards.

                 The decision of COA‟s President/CEO with regard to the adoption service
                 provider‟s request for “early re-application” is final and is not subject to further
                 review.

     3.    Deferral of Commission Decision

          a. Deferral of Decision to Allow Clarification

             The Commission has the discretion to defer reaching an accreditation or approval
             decision in order to allow the adoption service provider to clarify its compliance
             with any Hague standards about which the Commission has a question (see 22
             CFR 96.58).

             The adoption service provider shall have the opportunity to provide the additional
             information within the time set by the Commission, subject to paragraph c below.

          b. Deferral of Decision to Allow Time to Correct Deficiencies

             If adoption service provider is not in substantial compliance with applicable
             Hague standards, in accordance with the substantial compliance system, the
             Commission has the discretion to defer reaching an accreditation or approval
             decision in order to allow the adoption service provider to correct deficiencies and
             demonstrate substantial compliance.

             The adoption service provider shall have the opportunity to respond to questions
             about substantial compliance with the particular Hague standards that are the
             subject of the deficiencies within the time set by the Commission, subject to
             paragraph c below.

          c. Time to Clarify and/or Demonstrate Correction of Deficiencies

             An adoption service provider must provide clarification and/or correct deficiencies
             within the specified time-frame set by COA. An adoption service provider‟s failure
             to do so within the required time-frame, as specified in the written notification of
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               deferral, may result in the denial of accreditation/approval, unless COA has
               agreed to extend the time within which the adoption service provider is allowed to
               demonstrate clarification and/or correct deficiencies.

            d. Remedial Site Visit and Commission Review

               The Commission has the discretion to require a remedial site visit as part of the
               deferral process.

                                                 <Reserved.1>

               The Commission reviews an adoption service provider at the conclusion of the
               deferral timeframe to determine whether the adoption service provider has
               corrected deficiencies and/or is now in substantial compliance with the Hague
               standards, in accordance with the substantial compliance system.

       4.   COA„s Recommendation to Place the Accreditation or Approval Process on Hold

            COA, through its President/CEO, reserves the right to recommend to an adoption
            service provider at any time that the accreditation/approval process should be placed
            on hold when COA is informed of deficiencies that warrant such recommendation.
            Following the adoption service provider‟s acknowledgment of its intent to correct the
            identified deficiencies to the satisfaction of COA, the accreditation or approval
            process will continue.

     C. Possible Decisions for Accredited or Approved Adoption Service Providers
        Seeking Renewal

       1. Renewal of Accreditation or Approval

            An adoption service provider must meet the requirements of the substantial
            compliance system to be eligible for renewal of accreditation or approval (see 22
            CFR 96.63). In addition, COA will consider an accredited or approved adoption
            service provider‟s actual compliance during the accreditation cycle (including
            substantiated complaints) for the purposes of renewal (see 22 CFR 96.63).

            All adoption service providers shall receive written notification (e-mail) from COA
            upon renewal of their accreditation or approval.


             COA reserves the right to not provide a formal notification letter of accreditation or
             approval, certificate, and a final accreditation report until all fees incurred for
             accreditation or approval renewal have been paid.
             The accreditation or approval cycle is effective for a period of four years
             commencing either on the date the provider‟s previous accreditation or approval
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          cycle ended, or six (6) months from the date of COA‟s renewal decision, whichever
          date is sooner (see 22 CFR 96.60(a)).

     2.   Decision or Intent to Refuse Renewal of Accreditation or Approval

           a.   Reason for Refusal to Renew Accreditation or Approval

                COA may decide to refuse the renewal of an adoption service provider‟s
                accreditation or approval for any of the following reasons:

                       The adoption service provider fails to make employees available as
                        requested during the renewal review process, respond to requests for
                        information or documentation by COA staff, evaluators, or the
                        Commission, or provide or disclose any other information that is or
                        would be germane to an accreditation or approval decision (see 22
                        CFR 96.25).

                       The adoption service provider during the renewal review process is
                        found to not be in substantial compliance with applicable Hague
                        standards in accordance with the substantial compliance system (see
                        22 CFR 96.27).

                       The adoption service provider‟s self-study materials or other
                         information (i.e., the written renewal application and supporting
                         information) could not be verified through examination of underlying
                         information, as necessary to evaluate the adoption service provider‟s
                         eligibility for renewal of accreditation or approval (see 22 CFR 96.24).

                       The adoption service provider‟s performance as identified during the
                         most recent accreditation/approval cycle by COA‟s monitoring and
                         oversight activities (including substantiated complaints), indicates
                         patterns, trends, or lapses in compliance with the Hague standards or
                         other concerning performance (see 22 CFR 96.66).

          b.    Notification of Decision or Intent to Refuse to Renew Accreditation or
                Approval

                COA‟s written and dated notification to an adoption service provider will
                clearly describe the reason(s) for its decision or intent to refuse renewal of
                accreditation or approval and include procedures for the adoption service
                provider to request a review (see 22 CFR 96.76(b)).

          c.    Opportunity for Review

                An adoption service provider wishing to challenge a decision or intent by COA
                to refuse renewal of accreditation or approval must follow the procedures set

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             forth in §XIII Opportunity for Review of COA Decision or Intent to Impose
             Adverse Action. A request for review must be received by COA within ten
             (10) business days of the adoption service provider‟s receipt of the notification
             from COA.

        d.   Effective Date

              COA, through its President/CEO, will notify an adoption service provider in
              writing of the effective date of its refusal to renew accreditation or approval.
              This effective date shall be determined by COA following the adoption
              service provider‟s waiver to request a review or upon the review panel‟s
              decision to uphold the underlying decision.

          e. Effect of Refusal to Renew Accreditation or Approval

             At the time of issuing a decision of refusal to renew accreditation or approval,
             the Commission may also issue an adverse action decision to cancel the
             adoption service provider‟s current accreditation or approval.

             An adoption service provider that is refused renewal of accreditation or
             approval and has had its accreditation approval cancelled is prohibited from
             holding itself out as accredited or approved, whether orally or in writing (e.g.,
             on stationery, a certificate, or by other display indicating accreditation or
             approval), from the effective date of the decision to cancel the accreditation or
             approval.

             COA will notify the U.S. Department of State and the state licensing authority
             of its decision (see 22 CFR 96.77(d)) to not renew the adoption service
             provider‟s accreditation of approval. Refusal to renew accreditation or
             approval is public information.

             COA, as part of its oversight responsibilities (see 22 CFR 96.77(c)), will
             require an adoption service provider that is refused renewal of accreditation or
             approval to:

              cease providing adoption services in all Convention cases upon expiration
               of its existing accreditation or approval;
              take all necessary steps to complete its Convention cases before its
               accreditation or approval expires; and,
              execute plans, under the oversight of COA as per 22CFR 96.33(e) and
               96.42(d), for the transfer of its pending Convention cases and adoption
               records to other accredited agencies, approved persons, or a state archive,
               as appropriate.


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          f. Re-application

             An adoption service provider that is refused renewal of accreditation/approval
             may reapply for accreditation/approval after the refusal. COA has the
             discretion to require the adoption service provider to wait for a period of up to
             one (1) year before recommencing the accreditation/approval process (re-
             application). The one (1) year period of time for recommencing the
             accreditation/approval process begins from the date of COA‟s determination
             to uphold the decision to not renew accreditation or approval in response to
             the adoption service provider‟s request for review or the effective date of the
             decision.

             If COA exercises its discretion to require the adoption service provider to wait
             a period of time up to (1) one year before recommencing the
             accreditation/approval process, the adoption service provider may submit a
             written request for “early re-application” to COA‟s President/CEO. This written
             request must set forth evidence that there exist changed circumstances
             demonstrating the likelihood of sufficient compliance with the Hague
             standards.

             The decision of COA‟s President/CEO with regard to the adoption service
             provider‟s request for “early re-application” is final and is not subject to further
             review.

       3. Deferral of Commission Decision

          a. Deferral of Decision to Allow Clarification

             The Commission has the discretion to defer reaching a renewal decision in
             order to allow the adoption service provider to clarify its compliance with any
             standards about which the Commission has a question.

             The adoption service provider shall have the opportunity to provide the
             additional information within the time set by the Commission, subject to
             paragraph c below.

          b. Deferral of Decision to Allow Time to Correct Deficiencies

             If an adoption service provider seeking renewal is not in substantial
             compliance with applicable Hague standards, in accordance with the
             substantial compliance system, the Commission has the discretion to defer
             reaching a renewal decision on its accreditation or approval in order to allow
             the adoption service provider to correct the deficiencies and demonstrate
             substantial compliance.
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                 The adoption service provider shall have the opportunity to respond to
                 questions about substantial compliance with the particular Hague standards
                 that are the subject of the deficiencies within the time set by the Commission,
                 subject to paragraph c below.

              c. Time to Clarify and/or Demonstrate Correction of Deficiencies

                 An adoption service provider must provide clarification and/or correct
                 deficiencies within the specified time frame set by COA. An adoption service
                 provider‟s failure to do so within the required time frame, as specified in the
                 written notification of deferral, may result in refusal to renew the adoption
                 service provider‟s accreditation/approval, unless COA extends the time within
                 which the adoption service provider is allowed to demonstrate clarification
                 and/or correct deficiencies(see 22 CFR 96.24 and 96.25).

              d. Remedial Site Visit and Commission Review

                 The Commission has the discretion to require a remedial site visit as part of
                 the deferral process.

                         <Reserved.3>

                 The Commission reviews an adoption service provider seeking renewal at the
                 conclusion of the deferral timeframe to determine whether the adoption service
                 provider has corrected deficiencies and/or now is in substantial compliance with
                 the Hague standards, in accordance with the substantial compliance system.

     D. Accreditation or Approval and Renewal Decision-Making Requirements

          A quorum of the Commission (three Commissioners) must be present to review and
          act on an adoption service provider‟s application for accreditation or approval or
          renewal of accreditation or approval. All Commission decisions must be reached by
          no less than a two-thirds majority. When the Commission is unable to reach a two-
          thirds majority, COA‟s President/CEO appoints a panel of three (3) Hague
          Commissioners to review and resolve the decision.

     E. Required Action of COA’s Special Committee

       1. Accreditation or Approval, Renewal, and Deferrals

          COA does not require the following decisions to be reviewed and approved by its
          Special Committee:


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         a.   a decision to accredit or approve an adoption service provider, and
         b.   the deferral of an accreditation or approval or renewal decision.

        COA provides an adoption service provider with written and dated notification for any
        of the above decisions.

     2. Denial, Refusal to Renew, and Adverse Action

        COA presents the following decisions and the reasons for the same to its Special
        Committee for review and ratification at timely and specially convened meetings.

        The following decisions require the approval of COA‟s Special Committee:

         a.   Denial of accreditation or approval,
         b.   Refusal to renew accreditation or approval,
         c.   Corrective action(s) required,
         d.   Suspension of accreditation or approval, and
         e.   Cancellation of accreditation or approval

        The Special Committee may consist of the following individuals:

         a. Commissioners,
         b. COA senior managers, and
         c. COA President/CEO

        The Special Committee convenes in person, by conference call, or COA‟s
        President/CEO may poll the Special Committee members individually after informing
        them of the underlying decision and its reasons.

        Decisions presented to the Special Committee for final action pursuant to this section
        require the presence of a quorum of the particular group. Upon obtaining a quorum,
        the Special Committee reviews the underlying decision and its reasons. Final action
        requires a two-thirds majority vote of the quorum.

        COA, through its President/CEO, notifies the adoption service provider in writing
        within five (5) business days of Special Committee decision. COA provides the
        decision by a method which requires a signature on delivery (i.e., certified mail or
        UPS delivery). This written notification sets forth the reasons for the decision and, as
        applicable, COA‟s imposed adverse action or its intent to impose adverse action. It
        also includes reconsideration and petition for re-application procedures. (see §XIII.
        Opportunity for Review of COA Decision or Intent to Impose Adverse Action and §X.
        Monitoring and Oversight of Accredited or Approved Adoption Services Providers.
        Paragraph G.)


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     F. Public Disclosure of Accreditation or Approval Decisions

     COA discloses decisions to the public after formally notifying the adoption service provider, to
     the extent permitted in §XVI Confidentiality and Disclosure of Information, in accordance with
     22 CFR 96.91.

     G. Limitation of Liability

     COA‟s officers, directors, personnel, evaluators, Commissioners, or other persons involved in
     the accreditation or approval decision-making processes shall not be liable to an adoption
     service provider for the adoption service provider‟s failure to achieve or maintain accreditation
     or approval, or renewal even when the failure is temporary (e.g., as the result of an adverse
     action or when a decision is modified as result of an appeal or other review process).

     H. Content of Deliberations

     The content of the deliberations related to COA accreditation or approval decision-making is
     confidential and is not considered public information. COA will not disclose the content of the
     deliberations to the adoption service provider under review.




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             X. Monitoring and Oversight (M&O) of Accredited or
                     Approved Adoption Service Providers

          COA is responsible for overseeing the conduct of adoption service providers with
          accreditation or approval, including their use of supervised providers (see 22 CFR
          96.65). COA is also responsible for thoroughly reviewing/investigating complaints (see
          22 CFR 96.71) or other information, including information, referred to it through the
          Hague Complaint Registry or from the U.S. Department of State.


     A. Monitoring and Oversight Overview

     Pursuant to the accreditation regulations, accredited or approved adoption service
     providers must maintain substantial compliance with applicable Hague standards
     throughout their accreditation or approval cycle. Accredited or approved adoption service
     providers are expected to cooperate with any requirements relating to
     accreditation/approval cycle review processes (monitoring and oversight), site visits,
     corrective action of deficiencies, and/or complaint investigation. As detailed in COA‟s
     accreditation and approval procedures, an accredited or approved adoption service
     provider must continue during its accreditation/approval cycle to timely self-report incidents,
     occurrences or changes, submit semi-annual reports on complaints received, provide an
     annual attestation of substantial compliance, and to provide other designated information as
     required by COA.

     Required accreditation or approval cycle information must be submitted to COA within the
     time frames specified. COA has the authority to impose adverse action or change an
     adoption service provider‟s accredited or approved status because of failure to submit
     complete, accurate, and timely information consistent with 22 CFR 96.25(c).

     COA notifies an adoption service provider in writing if a required submission or other
     information COA receives raises a concern regarding substantial compliance with applicable
     Hague standards. COA provides the adoption service provider with an opportunity to
     respond to any concerns and/or correct deficiencies.

     An accredited or approved adoption service provider‟s actual performance during an
     accreditation cycle including its annual attestation and supporting documentation, semi-
     annual reports on complaints it has received, and substantiated complaints, will be
     considered by COA for the purposes of renewal of accreditation or approval decisions (see 22
     CFR 96.24 (b)(3)).

     B. Required Self-Reporting

     An accredited or approved adoption service provider must notify COA any time there are
     incidents, significant occurrences, or changes, relevant to its substantial compliance with
     applicable Hague standards. COA requires a prescribed reporting format to be used for the
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     self-reporting of such incidents, significant occurrences or changes. Accredited or approved
     adoption service providers are required to self-report in a timely manner in accordance with
     the time frames detailed below and via COA‟s web-based Self-Report Form located at:
     https://coa.formassembly.com/231862.

     A self-report must include required attached supporting documentation attached as necessary,
     in accordance with submission instructions provided by COA. Upon receipt of a self-report,
     COA provides the adoption service provider with the opportunity to provide further
     information about the incident, significant occurrence, or change. COA may require that the
     adoption service provider to provide specific, relevant information and/or undergo a site visit
     (see 22 CFR 96.25(a)). Self-reporting requirements are found below. COA may request
     information in addition to the information that is described below.

     OCCURRENCE                       EXPLANATION AND REQUIRED INFORMATION                           REPORTING TIME



     Revocation of Domestic          Explanation:                                                   Within 48 hours from the
     License or Authorization        Domestic licensing or regulatory authority notifies the        effective date of the
     (see 22 CFR 96.30(a)-(d) and    adoption service provider of loss, removal or                  revocation on the
     96.35(b))                       termination of a required license or authorization to          licensing authority
                                     operate.                                                       notification document.

                                     Information to Be Provided to COA:
                                      Explanatory information for the action by the
                                        licensing or the regulatory authority
                                      A copy of the notification from the licensing or
                                        regulatory authority including any review and/or
                                        investigative   findings    from   the    licensing   or
                                        regulatory authority
                                      A copy of the corrective action plan as it is
                                       developed by the adoption service provider, and,
                                       when received, a copy of the licensing or other
                                       investigative authority/entity‟s acceptance of the
                                       plan
                                      Any additional documentation that is relevant to the
                                        revocation or investigation and/or is requested by
                                        COA


     Action(s) by Licensing,         Explanation:                                                   Within five (5) business
     Regulatory, Other               Licensing or regulatory authority, other governmental          days from the effective
     Governmental Authority          authority (local, state, or federal), or other investigative   date of the action on the
     (local, state, or federal) or   entity notifies the adoption service provider of any of        licensing authority
     Other Investigative Entity      the following actions:                                         notification document.
     (see 22 CFR 96.30(a)-(d)
                                      Suspension of license

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      and 96.35(b)-(d))                Change to a. provisional, b. probationary, or c. other
                                          compromised status (e.g., temporary, conditional)
                                       Application of financial or other sanctions or
                                          penalties
                                       Placement of a hold on referrals and/or new
                                          applicants for adoption services
                                       Initiation of investigation
                                       Request         for    corrective     action    resulting   from
                                          investigation due to:
                                                   Financial malfeasance and/or irregularities
                                           (financial wrongdoing or misconduct),
                                                   Quality of service delivery,
                                                   Business ethics and/or regulatory compliance
                                           issues,
                                            Health and/or /safety,
                                            Substantiated complaints, and/or
                                            Other (provide description).

                                      Examples of investigative entities include, but are not
                                      limited to: IRS, Federal Trade Commission, U.S.
                                      Citizenship and Immigration Service, Department of
                                      Justice (corporate integrity agreements), Office of Civil
                                      Rights, FBI, state attorney general (corporate integrity
                                      agreements), other law enforcement authorities, or other
                                      investigative entities such as legal right organizations


                                      Information to Be Provided to COA:
                                              A copy of the notification from licensing or
                                               regulatory authority, other governmental authority,
                                               or   other     investigative    entity   regarding    the
                                               commencement of an investigation and/or request
                                               for corrective action
                                              A copy of the adoption service provider‟s
                                               corrective action plan submitted in response
                                              When received, documentation, documentation
                                               that the adoption service provider‟s corrective
                                               action plan has been accepted
                                              When received, notification from the
                                               licensing/regulatory authority that license has
                                               been restored to “regular” status or equivalent

      Initiation of Legal Action by   Information to Be Provided to COA:                                   Within five (5) business
      Third-Parties:                   A detailed description, including the basis for the                days from the effective
                                           action by the third party                                       date on the notification
     1. Related to Child Welfare
                                       Names of party(ies) initiating                                     document regarding
        or Adoption Related
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        Services, or                   Names and titles of workforce members named in             initiation of the legal
                                          the legal action                                         action.
     2. Filing of Criminal
                                       A copy of the notification received from the third
        Charges Related to Child
                                          party initiating the action
        Welfare, or Adoption
        Related Services or

     3. Filing of Child Abuse
        Charges (see 22 CFR
        96.35(b)(6))



      Judgments, Violations or        The adoption service provider receives a civil               Within five (5) business
      Convictions (see 22 CFR         judgment (e.g., malpractice, professional liability),        days from the effective
      96.35(b)(7))                    criminal or administrative violation, or conviction          date on the notification
                                      related to child welfare or adoption services.               document regarding the
                                                                                                   judgment, violation or
                                      Information to Be Provided to COA:
                                                                                                   conviction.
                                          A detailed description or copy of the judgment,
                                           violation, or conviction
                                       Action initiated or to be initiated by the adoption
                                          service provider in response to the judgment,
                                          violation, or conviction


      Loss of Authorization to        Information to Be Provided to COA:                           Within 48 hours from the
      Provide Adoption Services        A detailed description of the basis for the action by      effective date on the
      in a Foreign Country (see           a foreign on country                                     notification document of
      22 CFR 96.35(b))                 Copies of any documents received from the foreign          loss of authorization.
                                          government pertaining to the loss of authorization


      Completion of the Adoption      Information to Be Provided to COA:                           Within 30 calendar days
      Service Provider’s Annual        A copy of the completed financial review or audit          from the completion of
      Financial Review or Audit        A copy of any management letter or qualified               the adoption service
      (see 22 CFR 96.33(c))                opinion letter completed by the financial reviewer or   provider‟s annual
                                           auditor                                                 financial review or audit.




      Bankruptcy (see 22 CFR         Information to Be Provided to COA:                            Within five (5) business
      96.33(a)-(e) and 96.35(b))      Detailed description of reason(s) for the bankruptcy        days from the decision to
                                      The adoption service provider‟s plan that addresses         file for bankruptcy.
                                          the need for ongoing service delivery to consumers
                                          and/or the discontinuing service delivery


      For Lawyers, Change(s) in      Information to Be Provided to COA:                            Within 48 hours from the


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     Good Standing Status or          Detailed description of why the lawyer is not in          effective date on the
     Initiation of Disciplinary        good standing or why disciplinary action was              notification document.
     Action by State Bar for Any       initiated
     Jurisdiction Where               Copies of any documentation received from the
     Admitted (see 22 CFR              state bar
     96.35(d)(3))



     For Social Workers,           Information to Be Provided to COA:                            Within 48 hours from the
     Change(s) in Good                Detailed description of why the social worker is not      effective date on the
     Standing Status or                in good standing or why disciplinary action was           notification document.
     Initiation of Disciplinary        initiated
     Action by State Licensing        Copies of any documentation received from the
     or Professional Social            state licensing and/or the professional review body
     Work Review Body (see 22
     CFR 96.35(d)(4))



     Official Decision by the      Explanation:                                                   Within five (5) business
     Adoption Service Provider     The adoption service provider is closing.                      days of the official
     to Close (see 22 CFR          Information to Be Provided to COA:                             decision by the adoption
     96.33(e) and 22 CFR            A listing of all Hague adoption service(s)                   service provider to
     96.42(d))                      Closing date                                                 close.
                                    Detailed description of reason(s) for the decision
                                    The transition and referral plan for consumers


     Discontinuation by the        Explanation:                                                  Within 48 hours of the
     Adoption Service Provider     The adoption service provider plans to cease providing a      decision by the adoption
     of Hague Convention           specific adoption service or services (see 22 CFR 96.2        service provider to
     Services (see 22 CFR          for definition of “adoption service”), to cease providing     discontinue service(s).
     96.33(e) and 22 CFR           services in a particular Convention country(ies), and/or to
     96.42(d-e))                   cease providing services in connection with either
                                   incoming or outgoing cases altogether. See also Section
                                   XV of the Hague Accreditation Policies and Procedures
                                   Manual.


                                   Information to Be Provided to COA:
                                    Brief description of the service(s) being discontinued
                                    Discontinuation date(s)
                                    Detailed description of reason(s) for the decision
                                    Transition and referral plan for consumers



     Request to Seek               Explanation:                                                  Within five (5) business

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     Accreditation or Approval        The adoption service provider, since receiving Hague          days of the decision by
     for the Addition of              accreditation or approval for either incoming or outgoing     the adoption service
     Incoming or Outgoing             cases, has decided to seek accreditation or approval to       provider to add either
     Cases (see 22 CFR 96.47-         provide services in connection with the cases for which it    incoming or outgoing
     96.52 and 96.53-96.55)           is not already accredited or approved.                        cases.


                                      Information to Be Provided to COA:
                                      Formal request letter to COA with a brief description of
                                      reason(s) for the decision attached to the self-report
                                      form.



     Opening or Closing of an         Explanation:                                                  Within thirty (30)
     Office(s) (see 22 CFR            The adoption service provider plans to open an                business days from the
     96.25)                           additional office(s) or close an existing office(s) for       decision by the adoption
                                      providing adoption services in Convention cases.              service provider to open
                                                                                                    an additional office(s) or
                                      Information to Be Provided to COA:
                                                                                                    close an existing
                                          A copy(ies) of any applicable license(s) and/or
                                                                                                    office(s).
                                           certificates for the new state or a copy of
                                           application for license in the new state
                                          Tentative date(s) when the additional office(s) will
                                           begin providing services to consumers or an
                                           existing office will close
                                          Upon opening, mailing address(es) of the office(s),
                                           name and contact information of the individual(s)
                                           responsible for managing the office(s)
                                          A list of adoption services being provided in the
                                           additional office or closing office


     Change in Corporate              Explanation:                                                  Within five (5) business
     Structure (for adoption          The adoption service provider has decided to change           days of the decision by
     service providers who are        from a non-profit to for-profit or from for-profit to non-    the adoption service
     for-profit or non-profit) (see   profit or it has lost 501(c)(3) status.                       provider to change
     22 CFR 96.31)                                                                                  corporate structure or
                                      Information to Be Provided to COA:
                                                                                                    receipt of notification of
                                       Detailed description of any change
                                                                                                    loss of 501(c)(3) status.
                                       Reason(s) for the change or loss of 501(c)(3) status
                                       Copy of the board resolution or a copy of the
                                          notification of loss of non-profit status received from
                                          the IRS
                                       When received by the adoption service provider
                                          copies of the state and IRS response and/or
                                          approval for a filing for a change in corporate
                                          structure
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     Significant Change in         Explanation:                                                  Within (30) business days
     Compensation (e.g. change     The adoption service provider has decided to change           of the change(s) in
     greater than 10%) (see 22     compensation for services rendered by its directors,          compensation.
     CFR 96.34(b))                 officers, employees and/or supervised providers.

                                   Information to Be Provided to COA:
                                    Detailed description of any change(s) in
                                      compensation
                                    Reason(s) for the change(s)
                                    Amount of current compensation and the new
                                      compensation amount


     Change in the Adoption        Explanation:                                                  Within (30) business days
     Service Provider’s            The adoption service provider has decided to change or        of the decision by the
     Schedule of Adoption Fees     increase   fees    charged     to   prospective   adopting    adoption service provider
     (see 22 CFR 96.40)            individual(s)/families. NOTE: Upon approval by the            to change the schedule of
                                   accrediting entity, the adoption service provider must        adoption fees.
                                   update their fee schedule in the US Department of
                                   State‟s ATS.

                                   Information to Be Provided to COA:
                                    A copy of the changed/revised fee schedule that is
                                      provided to a prospective adoptive parent(s)
                                    A description of the reason(s) for the change(s)/
                                      increase(s)
                                    A statement verifying that the adoption service
                                      provider has updated their changed fees in the ATS


     Notification of Change in      Explanation:                                                 Within (30) business
     Supervised Provider(s) (see    The adoption service provider, since receiving Hague         days of the decision by
     22 CFR 96.45 (a-b))            accreditation or approval, has decided to discontinue the    the adoption service
                                    use of a supervised provider or to begin using a new         provider to discontinue
                                    supervised provider. This requirement is not applicable if   using a supervised
                                    the adoption service provider discontinues the use of a      provider or to add a
                                    supervised provider with whom they had established a         supervised provider.
                                    case-specific supervised provider agreement and the
                                    reason for discontinuing the relationship is due to
                                    completion of the case.

                                    Information to Be Provided to COA:
                                     Provide an updated Collaborative Relationships
                                       Profile indicating all current supervised providers.
                                     Provide a copy of the correspondence to the
                                       supervised provider documenting the discontinued
                                       or the new relationship.
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     Notification of Initiation of        Explanation:                                                   Within (30) business
     Primary Provider Activities          During the accreditation/approval review process, the          days of the decision by
     (see 22 CFR 96.44(a-b),              adoption service provider certified in its Executive           the adoption service
     96.45 and 96.46)                     Verification Form that the agency/person would not act         provider to act as a
                                          as a primary provider in any case for the duration of          primary provider.
                                          the accreditation/approval cycle, unless accredited or
                                          approved to do so in advance. The adoption service
                                          provider has decided to act as the primary provider in
                                          Hague adoption cases.

                                          Information to Be Provided to COA:
                                           Provide an updated Executive Verification Form
                                           Provide a narrative describing the adoption service
                                             provider‟s plans to act as a primary provider.
                                             Specify the type and volume of cases the provider
                                             plans to be the primary provider for; and the
                                             additional resources that will be obtained and other
                                             changes that will be implemented to fulfill the
                                             responsibilities of a primary provider.



     Official Decision by the             Explanation:                                                    Within five (5) business
     Adoption Service Provider            The adoption service provider has decided to merge              days from the date of
     to Merge with or Acquire             with,   or    be   acquired     by,   another      provider/    the adoption service
     another Party/Entity (see            organization/entity, regardless of whether the other            provider‟s official
     22 CFR 96.32(e))                     provider/organization/entity is Hague accredited or             decision to merge with
                                          approved. See Section XV of the Hague Accreditation             or be acquired by
                                          Policies     and   Procedures    Manual      for   required     another party/entity.
                                          documentation to be provided to COA.

     Change in the Adoption               Explanation:                                                   Within 48 hours prior to
     Service     Provider’s:    CEO,      The adoption service provider has an interim, acting,          the effective date of the
     Executive Director, Contact          or new CEO/executive officer/leader, a new individual          change or earlier.
     Person,     or      Change      in   is designated as the adoption service provider‟s
     Address      (see     22     CFR     accreditation/approval contact person, or the adoption
     96.32(a))                            service provider has a new address.

                                          Information to Be Provided to COA:
                                           Name of interim, acting, or new CEO/Executive
                                           Name of new contact person for the adoption
                                             service provider
                                           New address
                                           Effective date of the change


     Disruption or Dissolution of         Information to Be Provided to COA:                              Within (30) business

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     a Hague Convention               Detailed description of the occurrence                     days of the
     Adoption (see 22 CFR             Actions taken/to be taken in response to the               disruption/dissolution
     96.50(c)-(f))                       occurrence                                               occurring.




     Allegations of Child Buying     Explanation:                                                 Within 48 hours of
     or Fraud by an Employee or      The adoption service provider learns about someone           learning of child buying
     Associate of the Adoption       with whom they are associated, i.e., an employee,            or fraud allegations/
     Service Provider or Arrest of   supervised provider or an exempted provider being            arrests/convictions.
     an Employee or Associate of     charged with, under investigation for, arrested for or
     the Adoption Service Provider   having been convicted of child buying or fraud.
     Related to Adoption Services
                                     Information to Be Provided to COA:
     (see 22 CFR 96.36(a))
                                      A detailed description
                                      Copy of any notification received about the child
                                         buying or fraud


     Death of a Child (see 22        Explanation:                                                 Within 48 hours of
     CFR 96.50(a)-(f))               A minor child dies while being accompanied from the          learning of a death of an
                                     country of origin; or during the adoption service            adoptee child.
                                     provider‟s post-placement service delivery; or the
                                     death is learned of by the adoption service provider
                                     after the finalization of the adoption.

                                     The death is attributed to an undisclosed medical
                                     condition(s); or, it resulted from an occurrence such as
                                     abuse, neglect, endangerment, homicide, etc.). Death
                                     resulting from natural causes or from an accident
                                     should NOT be reported.

                                     Information to Be Provided to COA:
                                      A detailed description of the occurrence
                                      Any action taken/to be taken


     Serious Injury of a Child       Explanation:                                                 Within 48 hours of
     (see 22 CFR 96.50(a)-(f))           A minor child sustains a serious injury while being     learning of a serious
                                          accompanied from the country of origin; or during       injury to an adoptee
                                          the adoption service provider‟s post-placement          child.
                                          service delivery; or the injury is learned of by the
                                          adoption service provider after the finalization of
                                          the adoption.
                                         The injury resulted from an occurrence such as
                                          abuse, neglect, endangerment, etc.
                                         The injury resulted in debilitating or permanent
                                          loss of function (e.g., paralysis, brain trauma, loss

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                                          of limb, etc.) or serious physical or psychological
                                          injury (e.g., abuse, assault, rape, etc.).

                                      Information to Be Provided to COA:
                                       A detailed description of the occurrence
                                       Any action taken or to be taken

     C. Semi-Annual Report on Complaints Received
     In accordance with 22 CFR 96.41(f), accredited or approved adoption service providers are
     required to provide to COA and the U.S. Department of State on a semi-annual basis a
     report of all complaints received during the preceding six (6) months. In accordance with 22
     CFR 96.41(f), the adoption service provider submits this report of complaints semi-annually
     during the provider‟s accreditation period: 1) within 10 business days of the date six months
     after the provider‟s accreditation or approval and on each anniversary of this date1, and 2)
     within 10 business days of each anniversary of the provider‟s accreditation or approval.

     Summary elements must include:
             Number of complaints received during the preceding six (6) months (indicate if no
              complaints were received)
             Comprehensive summary of each complaint received that includes:
               a.    Description of the complaint
               b.    Description of who made the complaint
               c.    Findings from review of the complaint
               d.    Action(s) taken to resolve the complaint
             Assessment of any discernable patterns identified in the complaints for the six-month
              period
             Description of systematic changes taken or planned for in response to discernable
              patterns

     COA will provide the adoption service provider via e-mail a customized web-hosted link for
     entering the Semi-Annual Report on Complaints Received information electronically. The
     adoption service provider will have ten (10) business days from the date that they receive
     COA‟s e-mail request to submit the information described above.

     D. Annual Attestation of Substantial Compliance

         1
             The preceding six months begins from the adoption service provider‟s date of accreditation/approval. The
               date for an adoption service provider that achieved accreditation/approval prior to April 1, 2008 is April
               1, 2008. The anniversary date for an adoption service provider that achieved accreditation/approval
                                              st
               prior to April 1, 2008 is April 1 . For an adoption service provider who achieved accreditation/approval
               after April1, 2008, the date of accreditation/approval is the date on the notification letter received from
               COA and the anniversary date is also the date on that letter.



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     In accordance with 22 CFR 96.66(c), the adoption service provider must annually attest to
     that it remains in substantial compliance with applicable Hague standards. The annual
     attestation is to be submitted to COA by the adoption service provider within ten (10)
     business days of each anniversary of the provider’s accreditation or approval2 and in
     accordance with 22 CFR 96.66(c).

     The Annual Attestation of Substantial Compliance for Hague Accredited and
     Approved Adoption Service Providers is available on COA‟s website at:
     https://coa.my.salesforce.com/sfc/p/300000000aAUeRWKpy7boIW29WD7.Kcu3Huuczw


     E. Site Visits During the Accreditation and Approval Cycle

     COA may conduct site visits of an accredited or approved adoption service provider, either
     announced or unannounced (see 22 CFR 96.66(b)), during the accreditation or approval
     cycle for purposes of random verification of its continued substantial compliance, including
     under the following circumstances:

             at any time when COA is aware of reliable information that raises a concern
              regarding the adoption service provider‟s substantial compliance with applicable
              Hague standards;
             at any time in the course of investigating and acting upon complaints against the
              accredited or approved adoption service provider;
             at any time from the effective date of an imposed corrective action; or,
             at any time upon random selection of accredited or approved adoption service
              providers to verify ongoing substantial compliance with applicable Hague standards.

     See §XII Site Visits During the Accreditation or Approval Cycle regarding the remedial or
     compliance assurance site visit process.

     F. Required Cooperation by Accredited or Approved Adoption Service Providers
     COA expects an accredited or approved adoption service provider to cooperate fully with all
     accreditation or approval cycle review processes, including investigation of complaints, to
     enable COA to determine the adoption service provider‟s level of compliance with applicable
     Hague standards. Cooperation includes, but is not limited to, timely submission of required
     documents, or requested information, and the facilitation of any site visits (see 22 CFR
     96.25(a) and 22 CFR 96.66(b)).



         2
             The date for an adoption service provider that achieved accreditation/approval prior to April 1, 2008 is
             April 1, 2008. The anniversary date for an adoption service provider that achieved accreditation/approval
                                             st
             prior to April 1, 2008 is April 1 . For an adoption service provider that achieved accreditation/approval
             after April 1, 2008, its date of accreditation/approval and the subsequent anniversary date is the date on
             the notification letter received from COA.



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     G. Right to Review and Act on an Adoption Service Provider’s Accredited or
        Approved Status

       1. Authority and Discretion to Review and Act Immediately
          COA may review an adoption service provider‟s accreditation or approval status at
          any time and may take an adverse action against an adoption service provider as
          warranted (see 22 CFR 96.7(a)(5)). In the course of its oversight of an accredited or
          approved adoption service provider, COA considers any information about the
          adoption service provider that becomes available regarding substantial compliance
          with applicable Hague standards.
           COA’s President/CEO may take immediate action to require corrective action, or
           suspend, or cancel an adoption service provider’s accreditation or approval where
           he or she has sufficient evidence of conditions that warrant such action.
       2. Failure to Substantially Comply with Applicable Standards
          COA determines the need to review and/or act upon any possible or alleged failure to
          maintain substantial compliance with applicable Hague standards on the part of an
          accredited or approved adoption service provider. This decision is reached upon
          taking into consideration the information source and the seriousness of the
          information, allegations, and/or substantiated complaint(s).
          COA may refer a concern or issue regarding substantial compliance with applicable
          Hague standards to a regularly scheduled Commission or Compliance Review
          Committee meeting to determine if an adverse action should be taken against an
          adoption service provider.     However, consistent with 22 CFR 96.76, COA‟s
          President/CEO may exercise his or her discretion to notify an adoption service
          provider of COA‟s decision or intent to take adverse action prior to any Commission
          or Compliance Review Committee review, when, in the President/CEO‟s judgment,
          immediate action is necessary.

          A decision to take adverse action, whether by a Commission, Special Committee, or
          by COA‟s President/CEO, requires ratification as set forth in §IX Decision-Making.

       3. Adverse Action and Termination of Adverse Action

           In accordance with 22 CFR 96.74-96.79, COA may impose adverse action on a
           accredited or approved adoption service provider. In such an instance, COA provides
           the adoption service provider with an opportunity to respond to an adverse action
           that is under consideration or has been imposed (see §XIII Opportunity for Review of
           a COA Decision or Intent to Impose Adverse Action).

           COA imposes adverse actions when it determines that an accredited or approved
           adoption services provider has failed to:


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             Demonstrate continued substantial compliance with applicable Hague
              standards
             Correct deficiencies about which it has been previously informed, including
              the remediation and resolution of complaints
             Provide requested documents or information, or make employees available
              as requested (see 22 CFR 96.25(c))

       In accordance with 22 CFR 96.75 COA has the discretion to determine which
       adverse action to take. This decision is based on the extent and specifics of the
       adoption service provider‟s lack of substantial compliance, including the seriousness
       and level of non-compliance and type of violation. Further, COA has the discretion to
       determine which of the following adverse actions to take:
             Suspending accreditation or approval
             Canceling accreditation or approval
             Refusing to renew accreditation or approval
             Requiring specific corrective action
             Imposing other sanctions including, but not limited to, requiring an accredited
               or approved adoption service provider to cease providing adoption services in
               a specific Convention country

       Specific adverse actions are not required for any particular behavior, activity, or
       event. Instead, consistent with the Hague Accreditation Policies and Procedures
       Manual, COA has the discretion and flexibility to examine the factual circumstances
       underlying the conduct and to determine whether adverse action is appropriate and
       what action to take.
       COA decides which adverse action to take based on the seriousness and type of
       violation and on the extent to which the adoption service provider has corrected or
       failed to correct deficiencies of which it has been previously informed.
       Additionally, if a specific violation does not in and of itself warrant an adverse action,
       but is part of a pattern of behavior that is inconsistent with protecting the best
       interests of children, adverse action may be appropriate. Persistent or flagrant
       violations may warrant more severe adverse actions.

       It is impossible to list every type of non-conforming or unethical behavior that would
       warrant an adverse action, or all of the standards that may be potentially implicated,
       which would depend on the specific facts. The chart below provides examples of
       types of behaviors, activities or events and the corresponding adverse action that
       may be appropriate. The following chart is for illustrative purposes only and does not
       create any obligation on the part of COA to take a specific action nor does it create
       an entitlement on the part of a complainant or injured/aggrieved party. Repeated
       violations and/or a behavior, activity or an event that constitutes multiple violations
       may warrant more serious adverse action than that cited in the example.


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                                                EXAMPLES OF ADVERSE ACTION
           Concern                           Related      Possible Actions upon Review of            Example of
                                                       1
                                             Standards    a Complaint or Report of an                Appropriate
                                                          Occurrence                                 Adverse Action
                                                                                                     for a
                                                                                                     Substantiated
                                                                                                              2
                                                                                                     Violation
     Level 1
                                                       m
     The adoption service provider           96.35(a)           As appropriate:                      Cancellation
                                                      m
     (ASP) actions or failure to act         96.36(a)            consult with DOS regarding
                                                      c
     caused imminent danger to child         96.50(a)             referral to law enforcement
     or prospective/adoptive parent or                            and/or child protective services
     put child or prospective/adoptive                           report to licensing;
     parent at risk of imminent danger                           report to DOS and Foreign
                                                                  Central Authority (FCA);
                                                                 suspension
                                                                                3
                                                            m
     The ASP and/or its foreign              96.34(a-c)         As appropriate:                      Cancellation
                                                      m
     agent(s) has engaged in bribery,        96.35(a)            consult with DOS regarding
                                                         m
     fraud, and/or have provided             96.36(a, b)          referral to law enforcement;
     compensation in exchange for                                report to licensing;
     adoptions                                                   report to DOS and FCA;
                                                                 suspension
                                                                                3
                                                       m
     The ASP and/or its foreign agents       96.35(a)           As appropriate:                      Cancellation
     falsified or deliberately withheld      96.49(a, d, e,      consult with DOS regarding
                                                      c
     medical/social information on a         f, g, j)             referral to law enforcement;
     child                                   96.49(b, c, h,      report to licensing;
                                                   f
                                             I, k)               report to DOS and FCA;
                                                                 suspension
                                                                                3
                                                       m
     The ASP and/or its foreign agents       96.35(a)           As appropriate:                      Cancellation
                                                        m
     failed to adequately investigate        96.36(a)            consult with DOS regarding
                                                        c
     the medical and social information      96.36(b)             referral to law enforcement;
                                                      c
     on a child knowing that there is a      96.49(j)            report to licensing;
     significant risk of fraud and/or                            report to DOS and FCA;
     child buying                                                suspension
                                                                                3
                                                       m
     Failure to include required/            96.35(a)           As appropriate:                      Cancellation
                                                        c
     pertinent information in a home         96.47(a-c)          consult with DOS regarding
     study that is repeated or done          (see also P.L.       referral to law enforcement;
     deliberately       to approve    an     106-279             report to licensing;
     applicant who does not meet             Section     204     report to DOS and FCA;
     eligibility criteria                    (e))                suspension
                                                                                3

     Failure to correct the deficiencies     96.78(b)            Cancellation                       Not applicable
     that led to suspension
     Level 2
                                                        m
     The ASP is providing services           96.35(a)            report to licensing;               Suspension      with
                                                   m
     without proper authorization (e.g.,     96.30               report to DOS and FCA, as          closure of the state
                                                   f
     in a state or country) and/ or has      96.46                appropriate                        or country program
     failed   to    provide     sufficient                                                           until correction is
     transparency        related        to                                                           completed
     partnership arrangements.




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                                               EXAMPLES OF ADVERSE ACTION
           Concern                          Related      Possible Actions upon Review of         Example of
                                                      1
                                            Standards    a Complaint or Report of an             Appropriate
                                                         Occurrence                              Adverse Action
                                                                                                 for a
                                                                                                 Substantiated
                                                                                                          2
                                                                                                 Violation
                                                           m
     The ASP provides unreasonably          96.34(a-c)          report to licensing;            Suspension    with
                                                   f
     high compensation                      (d, f)              report to DOS and FCA, as       no acceptance of
                                                     m
                                            96.35(a)             appropriate                     new clients until
                                                                                                 fee schedules and
                                                                                                 compensation
                                                                                                 conforms to the
                                                                                                 requirements    of
                                                                                                 the standards
     The ASP failed to obtain missing       96.49(a, d, e,      report to licensing;            Suspension      with
                                                     c
     medical/social information or failed   f, g, j)            report to DOS and FCA, as       no acceptance of
     to request additional information      96.49(b, c, h,       appropriate                     new clients until
                                                  f
                                            I, k)                                                retraining        of
                                                                                                 employees          is
                                                                                                 completed
                                                       m
     The ASP routinely charges              96.35(a)            report to licensing;            Suspension      with
                                                     c
     additional fees that were not          96.39(a)            report to DOS and FCA, as       no acceptance of
     disclosed; fees are unreasonably       96.40(a, b, c,       appropriate;                    new clients until
                                                 c    f
     high and are unrelated to the          d, g) (h)           report to law enforcement, as   fee      schedules/
     services provided; or the ASP fails                         appropriate                     policies are revised
     to provide refunds in accordance                                                            and refunds of
     with its refund policy                                                                      funds collected in
                                                                                                 violation of the
                                                                                                 standards        are
                                                                                                 issued
                                                       m
     Failure to include required/           96.35(a)            report to licensing;            Suspension      with
                                                       c
     pertinent information in  a            96.47(a-c)          report to DOS and FCA, as       no acceptance of
     homestudy                              (see also P.L.       appropriate                     new clients until
                                            106-279                                              retraining        of
                                            Section 204                                          employees          is
                                            (e))                                                 completed
     Failure to submit an acceptable        96.76(a)                                             Suspension      with
     corrective action plan or failure to                                                        no acceptance of
     complete corrective action that                                                             new clients until
     has been required by COA                                                                    corrective action is
                                                                                                 completed
       Level 3
                                                       c
     Inadequate training or preparation     96.48(a) (b-h)      report to licensing             Corrective    Action
                                            f
     for an individual child                                                                     required
     Inadequate number of qualified         96.44(b)            report to licensing             Corrective    Action
                                                       c
     employees to perform clinical          96.37(a-g)                                           required
     services and/or the functions of a
     primary provider.
                                                       c
     Lack of familiarity with adoption      96.44(a)            report to licensing;            Corrective    Action
     laws, process, or timeframes in                            report to DOS and FCA, as       required
     foreign countries                                           appropriate
                                                       c
     Failure    to    recognize   client    96.41(c)            report to licensing             Corrective    Action
     concerns as a complaint and/or                                                              required
     failure to respond in a timely
     manner



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     1
       The weight assigned to each standard by the accrediting entity‟s substantial compliance system – mandatory,
     critical, or foundational – is indicated by “m,” “c,” or “f, “respectively, in a superscript to each standard reference.
     Related standards may vary depending on the specific details of the concern.
     2
       The chart provides examples of types of adverse action that may be appropriate. COA‟s action in any
     particular case will be dependent upon the specific facts.
     3
       COA’s President/CEO may take immediate action to require corrective action, or suspend, or cancel an
     adoption service provider’s accreditation or approval where he or she has sufficient evidence of conditions to
     warrant such action.

         The adoption service provider will be notified in writing of COA‟s effective date for the
         adverse action. COA will promptly notify the U.S. Department of State and the relevant
         state licensing authority(ies) of an imposed adverse action that changes the accreditation
         status of an adoption service provider (see CFR 22 96.77(d)).

         COA, pursuant to 22 CFR 96.78(b), may only terminate an adverse action it has taken if
         the adoption service provider demonstrates to the satisfaction of COA that the
         deficiencies that led to the adverse action have been corrected.

         COA, pursuant to 22 CFR 96.78(f), may withdraw an adverse action it has taken if COA
         determines that an imposed adverse action was based upon a mistake of fact or was
         otherwise in error.

         The adoption service provider will be notified in writing of the effective date for
         termination or withdrawal of an adverse action. COA will promptly notify the U.S.
         Department of State and state licensing authority(ies) of a termination or withdrawal of
         an imposed adverse action that changed the accreditation or approval status of an
         adoption service provider.

         4. Corrective Action

             a. Reason for Corrective Action
                Reasons for imposing corrective action on an accredited or approved adoption
                service provider may include, but are not limited to the fact that the adoption
                service provider‟s performance as identified during the accreditation or approval
                cycle from COA‟s monitoring and oversight activities (including substantiated
                complaints), demonstrates lapses in substantial compliance with certain Hague
                standards.

            b. Notification of Corrective Action

                   COA‟s written and dated notification to an accredited or approved adoption
                  service provider will clearly describe the reason(s) for deciding or intending to
                  impose corrective action, including any deficiencies in substantial compliance
                  with certain Hague standards.

            c.     Effective Date

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             COA, through its President/CEO, will notify an adoption service provider of the
             effective date of the corrective action and include procedures for the adoption
             service provider to dispute the deficiencies.

       d.    Correction of Deficiencies

             COA sets forth in writing the requirements for maintaining accreditation or
             approval and identifies the specific action(s) that the adoption service provider
             must take to correct any deficiencies and the required date(s) by which the
             action(s) must be completed.

             An accredited or approved adoption service provider required to take corrective
             action during the accreditation or approval cycle must demonstrate correction of
             all deficiencies within the time frame set by and to the satisfaction of COA (see
             22 CFR 96.75 (d)).

        e.   Monitoring of Corrective Action

             COA has the discretion via its Compliance Review Committee, the Commission
             or its Special Committee to review the adoption service provider‟s accreditation
             or approval status at any point during the corrective action period. COA may
             elect to approve an extension of an adoption service provider‟s due date(s) for
             completion of corrective action.

             COA‟s Compliance Review Committee, on behalf of COA‟s President/ CEO or
             the Commission, actively monitors the adoption service provider‟s progress with
             corrective action. This committee will determine whether all identified
             deficiencies have been corrected to the satisfaction of COA and the accredited
             or approved adoption service provider is in substantial compliance with
             applicable Hague standards.

             The Compliance Review Committee is composed of COA senior managers or
             other members of the workforce experienced in compliance management and
             knowledgeable about the Hague standards and intercountry adoption.

                                               <Reserved.4>

       f.     Remedial or Compliance Assurance Site Visit

             COA has the discretion to require a remedial or compliance assurance site visit
             at any point during or following corrective action to determine if the adoption
             service provider has corrected all deficiencies (see 22 CFR 96.66(b)).


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             g.    Effect of Corrective Action on Accreditation or Approval Status

                   COA will notify the U.S. Department of State that corrective action has been
                   required (see 22 CFR 96.93(a)).

                    An adoption service provider that has been required to take corrective action is
                    considered to be accredited or approved during the corrective action period.
                 h. Completion of Corrective Action

                     COA‟s Compliance Review Committee, upon satisfaction that an adoption
                     accredited or approved service provider has corrected all deficiencies that lead
                     to the corrective action, will notify COA‟s President/CEO or Commission that
                     the corrective action has been completed. COA, through its President/CEO,
                     will notify an adoption service provider in writing of the effective date for the
                     completion of corrective action.

                     COA will notify the U.S. Department of State that corrective action has been
                     completed.

     5.      Suspension

            a.     Reason for Suspension of Accreditation or Approval

                   The reasons for the suspension of the accreditation or approval of an adoption
                   service provider (and the denial of any pending application for renewal of
                   accreditation or approval) may include, but are not limited to:

                    The adoption service provider‟s failure to take required corrective action
                    The adoption service provider fails to correct identified problems with its
                     operations.
                    The adoption service provider‟s failure to demonstrate substantial compliance
                     with applicable Hague standards

            See also §IX Decision-Making for additional information on suspension.

            b. Notification of Suspension

                  COA, through its President/CEO, will notify in writing an accredited or approved
                  adoption service provider of its decision or intent to suspend its accreditation or
                  approval.

                  COA, as part of the dated notification to the adoption service provider, sets forth
                  in writing the deficiencies on the part of the adoption service provider.


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       c.   Opportunity to Demonstrate Suspension as Unwarranted

            An accredited or approved adoption service provider wishing to challenge COA
            regarding its decision or intent to suspend its accreditation or approval must
            follow procedures, including adherence to all timeframes, as set forth in §XIII
            Opportunity for Review of a COA Decision or Intent to Impose Adverse Action. A
            request for review must be received by COA within ten (10) business days of the
            adoption service provider‟s receipt of written notification from COA regarding
            suspension.

       d.   Suspension Effective Date

            Following the decision by COA to uphold its decision or intent to suspend, the
            adoption service provider will be notified in writing of the effective date for the
            suspension. This notification will include procedures for petitioning COA for
            termination of suspension.

       e.   Effect of Suspension
            An adoption service provider‟s whose accreditation or approval is suspended
            (see CFR 22 96.75 (a)) is not considered accredited or approved and is
            prohibited from holding itself out as such, whether orally or in writing (e.g., on
            stationery, on its website, or by any other display indicating accreditation or
            approval).

             COA will notify the U.S. Department of State and the state licensing
             authority(ies) that the adoption service provider‟s accreditation or approval has
             been suspended (see 22 CFR 96.93). Suspension is public information (see
             §XVI Confidentiality and Disclosure of Information).

              An adoption service provider whose accreditation or accreditation has been
             suspended must:

               immediately cease providing adoption services in all Convention cases; and,
               consult with COA whether to transfer all or designated Convention cases
                and adoption records.

             COA takes the reason(s) underlying an adoption service provider‟s suspension
             during the most current accreditation or approval review cycle into account
             when determining whether to reaccredit/reapprove the adoption service
             provider (see 22 CFR 96.63(d)).

       f.      Petition for Termination of Suspension



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                An adoption service provider whose accreditation or approval has been
                suspended may petition COA to terminate the suspension by submitting a
                written request to COA‟s President/CEO, along with evidence that it has
                corrected the deficiencies that led to the suspension.

                COA will review the adoption service provider‟s request and supporting
                evidence within fifteen (15) business days of receiving of the petition. COA
                may request additional information to determine if the deficiencies have been
                corrected.

                COA, through its President/CEO, will notify in writing the adoption service
                provider of its decision regarding the adoption service provider‟s petition for
                the termination of suspension.

        g.      Termination of Suspension

                 COA‟s Compliance Review Committee, Commission, or Special Committee
                 upon satisfaction that an adoption service provider has corrected all
                 deficiencies that lead to the suspension of its accreditation or approval, will
                 recommend to COA‟s President/CEO or Commission that the suspension be
                 terminated. If the President/CEO or the Commission agrees, COA, through its
                 President/CEO, will notify an adoption service provider in writing of the
                 effective date for the termination of suspension.

                COA will notify the U.S. Department of State and the state licensing
                authority(ies) that suspension has been terminated and accreditation or
                approval reinstated.

     6. Cancellation

        a.      Reason for Cancellation of Accreditation or Approval

                Reasons for the cancellation by COA of an accredited or approved adoption
                service provider‟s accreditation or approval (and the denial of any pending
                application for renewal of accreditation or approval) may include, but are not
                limited to:

                 The adoption service provider‟s failure to take required corrective action
                 The adoption service provider fails to correct identified problems with its
                  operations.
                 The adoption service provider‟s failure to demonstrate substantial
                  compliance with applicable Hague standards

                See also §IX Decision-Making for additional information on cancellation.
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      b.     Notification of Cancellation

             COA, through its President/CEO, will notify in writing the adoption service
             provider of its decision or intent to cancel accreditation or approval.

             COA, as part of the dated notification to the adoption service provider, sets
             forth in writing the deficiencies on the part of the adoption service provider.
       c.    Opportunity to Demonstrate Cancellation as Unwarranted

             An adoption service provider wishing to challenge COA regarding its decision
             or intent to cancel accreditation or approval must follow procedures, including
             adherence to all timeframes, as set forth in §XIII Opportunity for Review of a
             COA Decision or Intent to Impose Adverse Action. A request for review must
             be received by COA within ten (10) business days of the adoption service
             provider‟s receipt of written notification from COA regarding cancellation.

       d.   Cancellation Effective Date

             Following the decision by COA to uphold its decision or intent to cancel, the
             adoption service provider will be notified in writing of the effective date for the
             cancellation. This notification will include procedures for petitioning COA for
             termination of the cancellation and procedures for requesting permission to
             re-apply accreditation or approval.

       e.   Effect of Cancellation
             An adoption service provider whose accreditation or approval is canceled is
             not accredited or approved and is prohibited from holding itself out as such,
             whether orally or in writing (e.g., on stationery, on a website, or by other
             display indicating accreditation or approval).

             COA will notify the U.S. Department of State and the state licensing
             authority(ies) that the adoption service provider‟s accreditation or approval
             has been canceled (see 22 CFR 96.93). Cancellation is public information
             (see §XVI Confidentiality and Disclosure of Information).

             An adoption service provider whose accreditation or accreditation has been
             cancelled must:

              immediately cease providing adoption services in all Convention cases;
                and,
              execute plans for the transfer of Convention cases, under the oversight of
               COA, in accordance with 22CFR 96.33 (e) and 96.42 (d).


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                  COA takes the reason(s) underlying an adoption service provider‟s
                  cancellation during the most current accreditation or approval review cycle
                  into account when determining whether to reaccredit or reapprove the
                  adoption service provider (see 22 CFR 96.78(d)).

          f.    Petition for Termination of Cancellation

                  An adoption service provider whose accreditation or approval is canceled
                  during an accreditation or approval cycle may petition COA to terminate the
                  cancellation by submitting a written request to COA‟s President/CEO along
                  with evidence that it has corrected the deficiencies that led to the
                  cancellation.

                 COA will review the adoption service provider‟s request and supporting
                 evidence within fifteen (15) business days of receiving the petition. COA may
                 request additional information to determine if the deficiencies have been
                 corrected.

                 COA through its President/CEO will notify in writing the adoption service
                 provider of its decision regarding the adoption service provider‟s petition for
                 termination of cancellation.

          g.     Termination of Cancellation

                  COA upon satisfaction that an adoption service provider has corrected all
                  deficiencies that lead to cancellation, will recommend to COA‟s President/CEO
                  or Commission that the cancellation be terminated. If the President/CEO or the
                  Commission agrees, COA, through its President/CEO, will notify an adoption
                  service provider in writing of the effective date for the termination of
                  cancellation.

                 COA will notify the U.S. Department of State and the state licensing
                 authority(ies) that cancellation has been terminated and accreditation or
                 approval reinstated.

     H. Review of Complaints against Accredited or Approved Adoption Service Providers

        1. Introduction

          In accordance with 22 CFR 96.71(e), COA must not take any action to discourage an
          individual from, or retaliate against any individual for making a compliant, expressing
          a grievance, questioning the conduct of, or expressing an opinion about the
          performance of an accredited, or approved adoption service provider, or about COA
          as an accrediting entity.
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        The purpose of COA‟s investigative activities is to determine whether complaints, if
        substantiated, would affect the accreditation or approval status of an adoption
        service provider. COA will determine whether the information provided with the
        complaint or uncovered during the course of COA‟s complaint investigation
        demonstrates a lack of substantial compliance with applicable Hague standards.

        COA provides adoption service providers with an opportunity to respond to any
        complaints as set forth in these procedures. In addition, COA posts written
        information about these procedures on its website at: www.COAnet.org.

     2. Complaint Investigation/Review

        COA has established written procedures, including deadlines, for recording,
        investigating and acting upon complaints about an accredited or approved adoption
        service provider (including its use of supervised providers).

        Complaints received by COA directly from a third-party as well as through the U.S.
        Department of State‟s Complaint Registry are subject to investigation and/or review
        in accordance with these procedures. COA will enter these complaints received
        directly from third-parties into the U.S. Department of State‟s Complaint Registry.

        Upon receiving a complaint, COA initiates timely investigative activities. Complaints
        filed with the Complaint Registry by a federal, state, or local government official or a
        foreign Central Authority in accordance with to 22 CFR 96.69(d) will receive priority (in
        accordance with 22 CFR 96.71(b)(2)). If a complaint relates to the imminent safety of a
        child, investigation by COA will begin immediately.

        If the complaint raises an issue of compliance with the Convention, the IAA, or the
        regulations implementing the IAA, COA will verify with the primary provider and the
        accredited or approved adoption service provider, if different, that the complainant has
        already attempted to resolve the complaint in accordance with 22 CFR 96.69(b). If not,
        COA may refer the complaint to the primary provider and the accredited or approved
        adoption service provider, if different, for attempted resolution through its internal
        complaint procedures in accordance with 22 CFR 96.71(b)(1). If it is verified that the
        complainant has already attempted to resolve the complaint, COA may conduct its
        investigative activities.

        Consistent with 22 CFR 96.71(b)(2), COA‟s investigative activities may include, but is
        not limited to:

        -   Requesting that written information or response, including specific documentation,
            be provided within ten (10) business days or by an earlier date, following the
            receipt of COA‟s verbal or written request to the adoption service provider (see 22
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           CFR 96.25 and 96.26),
       -    Requesting and conducting interviews with the adoption service provider‟s
           employees (see 22 CFR 96.25 and 96.26),
       -   Actively monitoring progress by the adoption service provider with resolving the
           complaint, including implementation of specific actions required by COA, and/or
       -    Conducting a site visit to evaluate compliance with Hague standards implicated by
           the complaint and/or to observe first-hand the adoption service provider‟s practices.

           Possible complaint investigation outcomes may include, but are not limited to, the
           following:

            Unsubstantiated because of insufficient documentation or other information
            Unsubstantiated because the facts uncovered do not support the complaint
            Substantiated in whole or in part, but no adverse action is imposed
            Substantiated in whole or in part, and corrective action is required (see Part
             (4)(a-h) of this section regarding corrective action
            Substantiated in whole or in part, and accreditation or approval is suspended
             (see Part (5)(a)-(g) of this section regarding suspension
           - Substantiated in whole or in part, and accreditation or approval is cancelled
             (see Part (6)(a)-(g) of this section regarding cancellation)

        Upon conclusion of the complaint review/investigation, COA will provide written
       notification regarding the outcome of its investigation to the complainant or to any
       other entity that referred the information pursuant to 22 CFR 96.71(c) as well as to
       the primary provider and/or the accredited or approved adoption service provider.
       This notification will include:

       - any actions that COA requests that the primary provider and/or the adoption
         service provider to take in order to remediate/resolve the complaint, and/or
       - any adverse action imposed by COA

       If the complaint does not implicate the Convention, the IAA or other regulations
        implementing the IAA, COA, will refer the complainant, to other resources, as
        appropriate, (e.g., Better Business Bureau, state licensing authority)

       COA will enter information about each complaint investigation, complaint outcome,
       and any actions taken on the complaint into the Complaint Registry as provided in its
       agreement with the U.S. Department of State.

       COA will maintain a record of each complaint received for investigation including any
       documentation produced from the investigation, and the records of any action taken
       as the result of its investigation in the adoption service provider‟s record.



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        All substantiated complaints on accredited or approved adoption service providers
        will be provided to the evaluator team at the time of the adoption service provider‟s
        next accreditation or approval review.

     3. Dissemination of Information to the Public about Substantiated Complaints

        Upon inquiry from any member of the public, COA will verify whether there has been
        a substantiated complaint(s) against an accredited or approved adoption service
        provider, including the status and the nature of the complaint (see 22 CFR 96.92(a)).
        See § XVI Confidentiality and Disclosure of Information.




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           XI: Request for Renewal of Accreditation or Approval

        An adoption service provider’s renewal of accreditation or approval provides an in-depth
        review of an adoption service provider’s performance and is the process by which COA
        determines an adoption service provider’s continuing, substantial compliance with
        applicable Hague standard (see 22 CFR 96.63(d), 96.24, 96.25, 96.26, and 96.27).
        An adoption service provider must undergo a review for the renewal of its accreditation
        or approval prior to the expiration date of its certificate of accreditation or approval.


     COA advises in writing each accredited or approved adoption service provider that it
     monitor‟s of the date by which it should seek renewal of its accreditation or approval so that
     the renewal process can reasonably be completed prior to the expiration of its current
     accreditation or approval (see 22 CFR 96.63(a) and §II Application and Renewal Application).
     Any adoption service provider that does not complete the process prior to its expiration date
     ceases to be accredited or approved on that date.

     COA notifies an adoption service provider sufficiently in advance of its expiration date of the
     date by which it should file for renewal of its accreditation or approval (see 22 CFR 96.63(c)).
     This affords the adoption service provider sufficient time for the completion of its renewal
     process. An accredited or approved adoption service provider is expected to complete all
     renewal process milestones in a timely manner and the entire renewal review process prior to
     its expiration date.

     If an accredited or approved adoption service provider does not wish to seek renewal of
     accreditation or approval, it must immediately notify COA in writing of its intent and take all
     necessary steps to complete its Convention cases and to transfer its pending Convention
     cases and adoption records to other accredited or approved providers or to a State archive,
     as appropriate, under COA‟s oversight before its accreditation or approval expiration date
     (see 22 CFR 96.63(a)).

     If the accredited or approved adoption service provider elects to seek renewal of its
     accreditation or approval with a different accrediting entity, it must immediately notify COA
     in writing of its decision (see 22 CFR 96.63(b)).
     Upon receipt of the adoption service provider‟s renewal application, COA confirms the
     accreditation or approval fee in an accreditation or approval agreement. The fee to undergo
     the renewal process is based on the fee schedule in effect at the time of signing the
     accreditation or approval agreement (see also §III Accreditation or Approval Fees and §IV
     Accreditation or Approval Agreements).

     COA evaluates an adoption service provider‟s seeking renewal of accreditation or approval by
     applying the Hague standards in effect at the time the adoption service provider submits its
     renewal application.

     In addition, COA will consider an accredited or approved adoption service provider‟s actual
     performance during the previous accreditation or approval cycle including its annual
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     attestation and supporting documentation, semi-annual reports on complaints it has received,
     and substantiated complaints for the purposes of renewal of accreditation or approval
     decisions (see 22 CFR 96.24(b)(3)). Consistent with 22 CFR 96.63(d), if an adoption service
     provider has had its accreditation or approval suspended, COA may take the reasons
     underlying the suspension into account when determining whether to renew the accreditation
     or approval of the adoption service provider and may refuse to renew the accreditation or
     approval based on the prior suspension.

     An adoption service provider‟s accreditation or approval is effective for four (4) years,
     commencing either on the date that the provider‟s previous accreditation or approval cycle
     expired or six (6) months from the date of COA‟s renewal decision, whichever date is
     sooner.




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      XII. Site Visits During the Accreditation or Approval Cycle

         Remedial and compliance assurance site visits enable COA to conduct on-site reviews
         of adoption service providers during the accreditation or approval cycle. Such site visits
         are necessary to ensure the adoption service provider’s substantial compliance with
         applicable Hague standards or to further evaluate or ensure the correction of identified
         deficiencies pursuant to a corrective action or other adverse action (see 22 CFR
         96.66(b)).

     A. Remedial or Compliance Assurance Site Visits

        1. Circumstances

           COA may require a remedial or compliance assurance site visit (see 22 CFR 96.66)
           for an accredited or approved adoption service provider any time upon receipt of
           information that the adoption service provider is not maintaining substantial
           compliance with applicable Hague standards, which is best determined by a site visit.

            In addition, COA may identify, via random selection, adoption service providers to
            receive a remedial/compliance site visit.

        2. Process

           COA may require the adoption service provider to provide pre-site visit materials, as
           appropriate. COA provides the adoption service provider with reasonable notice of an
           upcoming remedial or compliance assurance site visit. The length of the notice
           depends on the level of compliance with applicable Hague standards, the time
           necessary to provide the requested pre-site materials, and/or the scope of the
           remedial or compliance assurance site visit.

                                             <Reserved 5.1.>

           Generally, COA sends one evaluator to conduct a remedial or compliance assurance
           site visit, but may require more than one evaluator, if that is necessary to review the
           adoption service provider‟s level of compliance with applicable Hague standards.


                                             <Reserved 5.2.>
        3. Site Visit Report


           Upon receiving the completed rating sheets and comments from the evaluation team,
           COA prepares a Pre-Commission Report. The Pre-Commission Report is sent to the

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            adoption service provider for review and response based on guidelines provided by
            COA.

            See §VII Site Visit and §IX Decision-Making regarding site visit reports and the
            decision-making process.

        4. Accreditation or Approval Expiration Date

            A remedial or compliance assurance site visit does not change the expiration date of
            the adoption service provider‟s accreditation or approval.

     B. Interim Site Visits for Delays to the Accreditation or Approval Review Process
        (Reserved)

     See §XIV Delays to the Accreditation or Approval Review Process. < Reserved>

     C. Merger or Acquisition Site Visits

     See §XV Changed Adoption Service Provider Status.




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          XIII: OPPORTUNITY FOR REVIEW of COA DECISION or
                   INTENT to IMPOSE ADVERSE ACTION

         COA’s provides an opportunity for an adoption service provider to submit information for
         the purposes of demonstrating that COA’s decision or intent to impose an adverse
         action is not warranted and should be withdrawn (see 22 CFR 96.76 and 96.105).

         Accredited or approved adoption service providers are afforded a fair and impartial
         written process for challenging a decision by COA that impacts their accreditation or
         approval status.


     A. Opportunity for Review of COA Decisions

     An accredited or approved adoption service provider may request a review of the following
     decisions by COA:

           Notification of intent or decision to take an adverse action (e.g., corrective action,
            suspension, or cancellation)(see 22 CFR 96.76 and 96.105).
           Notification of intent to refuse the renewal of accreditation or approval as a result of
            COA‟s review process, and/or monitoring and oversight activities (see 22 CFR
            96.76).

     B. Time within Which to Request a Review

     An accredited or approved adoption service provider that wishes to request a review must
     submit its request and all supporting material(s) to COA within ten (10) business days of the
     date on which the adoption service provider receives notification from COA. COA, at its
     discretion, may consider written requests for reasonable extensions of the ten (10) business-
     day period.

     Unless an extension has been granted, an adoption service provider‟s failure to request a
     review within ten (10) business days will result in the adoption service provider‟s loss of the
     opportunity for review.

     C. Content of and Filing a Request for Review
     A written request for review and all supporting material must be sent to the following address
     by a method requiring signature on delivery (e.g., certified mail or UPS delivery).

     President/CEO
     Council on Accreditation
     45 Broadway, 29th Floor
     New York, New York 10006

     The adoption service provider‟s request must contain written grounds for the requested
     review and all supporting documentation and evidence.
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     D. Grounds for Review

     An accredited or approved adoption service provider may request a review of COA‟s
     decision or intent to take action for either of the following reasons (see 22 CFR 96.76):

         The adoption service provider disagrees with COA‟s application of the substantial
          compliance system to its performance as set forth in the notification letter pertaining to the
          adverse action.
         The adoption service provider contends that COA failed to consider information or
          materials, which, in its opinion, should have been considered during the accreditation or
          approval monitoring cycle or the accreditation or approval renewal process.

     The adoption service provider must identify the grounds for the review request and the
     specific information that supports these grounds.

     E. Timing and Method for Review

         1. Review of Received Requests

            COA reviews the request for review no later than fifteen (15) business days after it
            receives the adoption service provider‟s written request, supporting documents
            and/or evidence. If additional information is required, COA will notify the adoption
            service provider; COA will review the additional information no later than fifteen (15)
            business days after receipt of the new information.

         2. Method of Review

            The designated review panel either meets in person or by conference call, or COA‟s
            President/CEO polls the individual members.

     F. COA Review Panels

         1. Review Panel Composition

            COA‟s President/CEO designates a review panel composed of three persons, each
            of whom is a Commissioner, evaluator, or COA senior manager.

         2. Conflict of Interest

            An individual must recuse himself/herself from a review panel if there would be an
            actual or perceived conflict of interest. An individual who participated in any way in
            the underlying accreditation, approval, or renewal of accreditation or approval
            decision-making process is considered to have a conflict of interest.


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     G. Review Decision

          1. Possible Review Decisions

             The review panel either:

             a. upholds the underlying decision to take an action or continue an imposed action; or
             b. overturns the underlying decision to take an action or continue an imposed action.

          2. Upheld Decisions

             When the review panel upholds the original decision or intent to take an action,
             COA‟s President/CEO notifies the adoption service provider of the review outcome.
             This written notification contains the effective date for imposing the action as,
             appropriate.

          3. Overturned Decisions

             When the review panel overturns the original decision or intent to take an action, it
             provides a written explanation for its decision to COA‟s President/CEO. COA then
             notifies in writing the adoption service provider of the decision. The notification letter
             informs the adoption service provider of the effective date for withdrawal of an action
             already in effect, as appropriate.

     H. Standard of Review and Requirement of Unanimity

      The review panel must determine whether the alleged conduct, condition, or situation
      supports the decision or intent to impose an action, and, if so, whether the adoption service
      provider has presented information that would undermine such a determination, based on the
      underlying documentation and the adoption service provider‟s written arguments and
      evidence.

      Review of the adoption service provider‟s request requires the participation and vote of all
      three (3) designated panel individuals. The decision of an appeal review panel requires a
      two-thirds majority vote.

      Action by a review panel is final and not subject to further review.

     I.   Content of the Deliberations and Review Panel Vote

      The content of all review deliberations, including the individual votes of the review panel
      members, is confidential. COA does not consider the deliberations or votes to be public
      information, nor does COA disclose them to the party requesting review. Review decisions
      are also governed by §XVI Confidentiality and Disclosure of Information and in accordance
      with 22 CFR 96.26.


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     J. Request for Review Expenses

     Costs and expenses incurred by an accredited or approved adoption service provider as part
     of pursuing a request for review, including attorney fees, if any, are the adoption service
     provider‟s full responsibility.

     K. Limitation of Liability

     COA‟s officers, directors, personnel, evaluators, commissioners, and other persons involved
     in the accreditation and/or approval decision-making processes shall not be liable to an
     adoption service provider for its failure to achieve or maintain accreditation and/or approval,
     even when the failure is temporary (e.g., when a decision is modified as the result of a
     request for review or other review process).




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       XIV: Delays to the Accreditation or Approval Review
                              Process

                                      <Reserved>




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                XV: Adoption Service Provider Changed Status

     Where consistent with 22 CFR 96, an adoption service provider ceases to be accredited or
     approved by COA in the event of any of the following:

        Closure of the adoption service provider
        Discontinuation of all Convention adoption services
        Merger or acquisition

     An adoption service provider that is no longer accredited or approved by COA is not entitled
     to hold itself out as Hague accredited or approved and is expected to take reasonable steps
     not to mislead its stakeholders or the public.      An adoption service provider’s former
     accredited or approved status and change in status is public information.

     A. Closure of an Adoption Service Provider

         1. Notification

            An accredited or approved adoption service provider must notify COA no later than
            forty-eight (48) hours of its formal decision to close providing the effective date of the
            closure (see 22 CFR 96.42). The accredited/approved adoption service provider
            must detail in writing to COA all steps it intends to take to complete or transfer its
            pending Convention cases and Convention adoption case records to other accredited
            agencies, approved persons, or an appropriate custodian (see 22 CFR 96.42).

            An adoption service provider that closes or ceases to operate is not eligible to
            continue as an accredited or approved adoption service provider.

         2. Reimbursement of Fees by COA


            An adoption service provider that closes is not entitled to reimbursement of any paid
            accreditation, approval or monitoring and oversight fees.

         3. Future Eligibility
            An adoption service provider that closes may reapply for accreditation or approval, in
            accordance with the procedures of 22 CFR 96, if it later reopens and resumes
            provision of such services.

         4. Disclosure of Accredited or Approved Status
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           a. Adoption Service Provider Responsibilities

               An adoption service provider that plans to cease operating will be prohibited from
               holding itself out as accredited or approved. An adoption service provider that
               ceases to operate is also prohibited from holding itself out as accredited or
               approved. Adoption service providers must take steps to prevent stakeholder
               confusion, including, but not limited to:

                 Notifying all staff and volunteers of the change in its accredited or approved
                  status
                 Taking purposeful actions to prevent or mitigate any stakeholder confusion
                  about or adverse impact from closure
                 Discontinuing all references to Hague Convention accreditation or approval on
                  stationery, a website, or on adoption service provider literature
                 Removing any written references and symbols of Hague Convention
                  accreditation or approval

           b. COA Actions

               COA will remove an adoption service provider‟s name from any publications or
               other listings of accredited or approved adoption service providers upon the
               effective date of the adoption service provider‟s closure. An adoption service
               provider‟s former accredited or approved status and the reason(s) for the status
               change is public information.

               COA will inform the U.S. Department of State of the adoption service provider‟s
               closure (see 22 CFR 96.93).

     B. Discontinuation of Adoption Services

        a. Notification

           An accredited or approved adoption service provider must notify COA no later than
           forty-eight (48) hours of its formal decision to cease providing any adoption service(s)
           in Convention cases, providing the effective date of the discontinuation (see 22 CFR
           96.2 for definition of “adoption service”). An accredited or approved adoption service
           provider should notify COA in connection with any decision to cease providing a
           specific adoption service or services, to cease providing services in a particular
           Convention country(ies), and/or to cease providing services in connection with either
           incoming or outgoing cases altogether.

           The accredited or approved adoption service provider must detail in writing to COA
           all steps it intends to take to complete or transfer any pending Convention cases and
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          Convention adoption case records to other accredited agencies, approved persons,
          or an appropriate custodian, as appropriate (see 22 CFR 96.42).

          An adoption service provider is not eligible to continue as an accredited or approved
          adoption service provider if it ceases to provide all adoption services.

     b. Reimbursement of Fees by COA

          An adoption service provider that discontinues all or any Convention adoption
          services is not entitled to reimbursement of any paid accreditation, approval or
          monitoring and oversight fees.

     c.   Future Eligibility

          An adoption service provider that discontinues all or any Convention adoption services
          may reapply for accreditation or approval, in accordance with the procedures of 22
          CFR 96, if it later resumes provision of such services.

     d. Disclosure of Accredited or Approved Status

          a.       Adoption Service Provider Responsibilities

                   An adoption service provider that discontinues all or any Convention country
                   adoption service is prohibited from holding itself out as accredited or
                   approved to provide such services and must take steps to prevent
                   stakeholder confusion, including, but not limited to:

                          Notifying all staff and volunteers of the change in services and, as
                           applicable, any impact on its accredited, or approved status.
                          Taking purposeful actions to prevent or mitigate any stakeholder
                           confusion about or adverse impact from the discontinuation of all or
                           any Convention country adoption services.
                          Discontinuing all references to Hague Convention accreditation or
                           approval for the discontinued service(s) on stationery, a website, or on
                           adoption service provider literature.
                          Removing any written references and symbols of Hague Convention
                           accreditation or approval.

                An adoption service provider that ceases to provide adoption services in a
               specific Convention country (ies) must also take steps to prevent stakeholder
               confusion, including, but not limited to:

                  Notifying all staff and volunteers of the change in adoption services and, as
                   applicable, any impact on its accredited, or approved status
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                  Taking purposeful actions to prevent or mitigate any stakeholder confusion
                   about or adverse impact from the discontinuation of a specific Convention
                   country adoption service(s).
                  Discontinuing all references to Hague Convention accreditation or approval for
                   the discontinued services on stationery, a website, or on adoption service
                   provider literature.
                  Removing any written references and symbols of Hague Convention
                   accreditation or approval.

               b. COA Actions

               COA will inform the U.S. Department of State of the adoption service provider‟s
               discontinuation of all or any convention adoption service (see 22 CFR 96.93).

     C. Merger or Acquisition

        1. Notification

           An applicant for Hague accreditation or approval or an accredited or approved
           adoption service provider must notify COA within forty-eight (48) hours of its formal
           decision to merge with, acquire, or be acquired by another adoption service provider.
           It must provide the information required in paragraph 2 below.

           Accreditation or approval is not transferable. An applicant for Hague accreditation or
           approval, or an accredited or approved adoption service provider that decides to
           merge with, acquire, or be acquired by an adoption service provider who is not
           accredited or approved must follow notification procedures in section A or B.

        2. Required Information


                    TYPE OF INFORMATION                              CONTENT

               Identification of the adoption      Other adoption service provider‟s name
               service provider with which the      and address.
               applicant       for     Hague       Whether the other adoption service
               accreditation or approval or an      provider is an applicant for accreditation
               accredited or approved ASP           or approval or is currently accredited or
               has decided to merge with,           approved by COA or another designated
               acquire or be acquired by            accrediting entity, identifying the other
               (“Other Adoption Service             accrediting entity, if any.
               Provider”).

               A    detailed   narrative   that    The reasons for the merger/acquisition.

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              TYPE OF INFORMATION                              CONTENT

          explains the reasons for and       The extent to which the merger/acquisition
          the expected impact of the          will result in a significant change in the
          merger/acquisition.                 delivery of adoption services (e.g., new or
                                              discontinued services and policies).
                                             The extent to which the merger/acquisition
                                              will have a significant impact on the
                                              successor adoption service provider‟s
                                              financial position.
                                             The impact of the merger/acquisition on
                                              existing adoption cases.
                                             Change(s) in country programs and fees.
         Additional information to be        A copy of the amended by-laws, “articles
         provided post-notification to        of incorporation,” or other comparable,
         COA regarding the merger or          legally effective statements of the merger/
         acquisition                          acquisition, as soon as available (to
                                              update documents previously provided to
                                              COA and to describe the new entity).
                                             Copies of all required licenses for the
                                              successor adoption service provider, with
                                              written confirmation from the applicable
                                              regulatory authorities confirming the
                                              status of the required licenses (after
                                              merger/acquisition).

         Additional information about the    A description of the adoption services
         other      adoption      service     being provided by the other adoption
         provider’s      programs     (an     service provider at the time of the formal
         adoption service provider who        decision to merge/acquire (enclosing
         is not accredited or approved or     copies of descriptive service brochures).
         an     applicant    for   Hague     The other adoption service provider‟s
         accreditation may not have           most recent annual report.
         some of the required content).      The other adoption service provider‟s
                                              most recent financial audit (with
                                              management letter), if applicable.
                                             Revised Organizational Chart, identifying
                                              those management positions that will be
                                              filled by management of the other
                                              adoption service provider.
                                             An explanation of the extent to which the
                                              merger/acquisition will significantly impact
                                              the    job    responsibilities    of    non-
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                TYPE OF INFORMATION                                 CONTENT

                                                 management staff.
                                                If applicable, written confirmation from the
                                                 other accrediting entity to the services for
                                                 which the other adoption service provider
                                                 is seeking accreditation or approval and
                                                 the other adoption service provider‟s
                                                 applicant status at the time of the formal
                                                 decision to merge/acquire.

     3. Additional Requirements

        After reviewing the written information required in paragraph (2) above, COA notifies
        the adoption service provider and/or successor adoption service provider of the need
        for:

        a. Additional information
        b. A site visit
        c. rescheduling of a site visit date as a result of the merger/acquisition

                                           <Reserved 6.>

        COA may reassess the applicant‟s accreditation and approval process and schedule
        for a site visit based on the review of requested information.

        COA will inform the adoption service provider of all applicable Hague standards that
        should a site visit be necessary due to the merger/ acquisition decision or activity.
        See §VII Site Visit and §IX Decision-Making regarding site visit reports and the
        decision-making process.

        COA provides an adoption service provider with reasonable notice of a required site
        visit and has the discretion to require the adoption service provider to provide pre-site
        visit material. Reasonable notice for the site visit depends on the site visit‟s scope
        and the time necessary to provide the requested pre-site visit material.

        COA will assign two (2) evaluators to conduct the review and will send at least one
        (1) evaluator to conduct the merger/acquisition site visit. COA reserves the right to
        assign more than one evaluator to conduct the site visit if necessary.

     4. Issuance of New Certificate

                                              <Reserved>

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       COA issues a certificate in the successor adoption service provider‟s name after the
       accredited or approved adoption service provider or successor adoption service
       provider demonstrates the successor adoption service provider‟s substantial
       compliance with applicable Hague standards.




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                  XVI: Confidentiality and Disclosure of Information

             COA maintains and protects information learned, accessed, received or created during
             the accreditation or approval process consistent with the Convention, the IAA, and the
             regulations implementing the IAA and other applicable laws, including but not limited
             to, laws required to protect children from serious harm or injury.

         COA protects all information and documents (including, but not limited to, documents
         and proprietary information) of the adoption service provider from unauthorized use or
         disclosure by applying reasonable and appropriate administrative procedures, physical
         safeguards and technical security mechanisms. All COA workforce members,
         volunteers and, as applicable, business associates are required to sign a confidentiality
         agreement upon joining the workforce or providing contracted services to COA.

         The accreditation or approval process and the COA relationship with either an
         accredited/approved adoption service provider or adoption service provider, first-time
         applicant, re-applicant, or applicant for renewal is of a confidential nature, except for
         disclosure of information about accreditation or approval review decisions and
         information about the current status of an applicant, or about an adoption service
         provider that is currently or has been formerly accredited or approved.

             COA provides the public with access to information concerning an adoption service
             provider’s accredited or approved status, including any adverse actions taken, the
             reason(s) for the adverse action, and substantiated complaints against
             accredited/approved adoption service providers. Dissemination of information to the
             public on the accredited and approved status of adoption services providers is
             governed by 22 CFR 96.91and 96.92.

     A. Confidential Information

        1.     Introduction

              COA holds in confidence all information learned, accessed, received, or created
              about adoption service providers during the accreditation or approval review process,
              accreditation or approval cycle (i.e., monitoring and oversight activities), re-
              application and renewal, except under the following circumstances:

              -    As authorized in the accreditation or approval agreement
              -    As authorized in a written consent, release, or request for disclosure
              -    As required by law, including applicable state and federal laws

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          -     As required to be reported by COA‟s agreement with the U.S. Department of
                State, the IAA, or the regulations implementing the IAA
          -     Upon receipt of reliable information that raises a serious concern about the
                adoption service provider‟s substantial compliance with applicable Hague
                standards
          -     To the extent necessary to conduct investigative activities per 22 CFR
                96.71(b)(2)
          -     As otherwise permitted in the Hague Accreditation and Approval Policies and
                Procedures Manual

     2. Information Acquired in the Course of Accreditation/Approval Review, Renewal, and
        During an Accreditation/Approval Cycle through Monitoring and Oversight Activities

          Information accessed, learned, collected, and created about an adoption service
          provider in the course of an accreditation/approval review process, during a
          accreditation/approval cycle (i.e., monitoring and oversight activities), or renewal
          review process includes, but is not limited to, the following:

          -     Financial information
          -     Data, documents, reports, and narrative descriptions about management and
                professional practices
          -     Ratings and evaluator comments
          -     Forms and evaluations
          -     Legal and regulatory compliance information
          -     Public comment information received on the adoption service provider3
          -     Decision-making and deliberation records, including work notes or votes
                COA staff notes and records referencing such information in any way
          -      Other information that would not have been available but for the accreditation or
                 approval review, monitoring or oversight (including complaint investigation), first-
                 time application, re-application and application for renewal.

          Subject to paragraph 1 above, COA considers the above information confidential.
          COA requires that the information and its contents be discussed only as necessary
          among individuals participating in accreditation, approval, renewal, monitoring and
          oversight activities, or as required by COA‟s memorandum of agreement with the
          U.S. Department of State.

     3. Limited Use of Documents and Proprietary Information/Right to Use Non-Identifying
        Data


      3
          COA, as required by its memorandum of agreement with the U.S. Department of State, posts on its
          website the names of first-time applicants, re-applicants, and applicants for renewal of accreditation or
          approval for the purpose of soliciting public comment about the adoption service provider.

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           Any appropriation or use of an adoption service provider‟s proprietary information by
           COA, including by its evaluators, Commissioners, or anyone else engaged in the
           accreditation or approval review process on behalf of COA, requires the prior, written
           consent of the individual adoption service provider or the president/chief executive
           officer or chief administrator. The consent must describe the intended purpose for
           the appropriation or other use.

           Notwithstanding the above consent requirement for use of an adoption service
           provider‟s self-study material, COA has the authority to extract non-identifying
           adoption service provider information submitted as part of the application, self-study
           tools, monitoring or oversight reports of accredited/approved adoption service
           providers, and initial and final accreditation or approval ratings, for internal study/
           analysis and for publication or other disclosure in the aggregate (“de-identified”),
           without obtaining the adoption service provider‟s permission or consent, provided
           COA‟s President/CEO has authorized such extraction or disclosure.

        4. Evaluation Team and Commission Deliberations

           Except as otherwise provided for in these policies and procedures, the deliberations
           of the evaluator team and the Commission, including any written notes reflecting the
           accreditation or approval decision-making process, are confidential, except that any
           and all such materials may be provided to the U.S. Department of State at any time.

        5. Information Retention

           COA maintains an accurate record of the adoption service provider‟s application,
           supporting documentation, and the basis for its decision-making. COA retains
           records of the adoption service provider‟s application and all information supporting
           the decision-making process, including: self-study, the Pre-Commission Report; Final
           Accreditation/Approval Report; evaluator comments; accreditation/approval cycle
           documents and correspondence; decision or intent to take adverse action
           notification(s) or notifications of imposed adverse actions; any actions taken
           governing denial or deferral; and all corrective action, suspension, or cancellation
           correspondence and response materials. The retention of this information is
           governed by COA‟s written information retention procedures.

     B. Dissemination of Information to the Public

        1. Public Information

           COA makes available to the public on no less than a monthly basis the following
           information on its website and provides the information to the U.S. Department of
           State for posting on its website (see subpart M of 22 CFR and 22 CFR 96.91):
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             -         The name, address, and contact information for each accredited or approved
                       adoption service provider.
             -         The names of adoption service providers denied accreditation or approval that
                       have not subsequently been accredited or approved.
             -         The names of adoption service providers who have been the subject to
                       withdrawal of temporary accreditation, suspension, cancellation, refusal to
                       renew accreditation or approval, or debarment.
             -         For an accredited or approved adoption service provider, the effective dates of
                       its accreditation or approval and the adoption services for which it is accredited
                       or approved.
             -         Information specifically authorized in writing by the accredited or approved
                       adoption service provider.
             -         Other information available to the public pursuant to the Hague Accreditation
                       and Approval Policies and Procedures Manual and governed by subpart M of
                       22 CFR.

             In addition, COA also makes available to the public on no less than a monthly basis
             on its website the following information (see subpart M of 22 CFR, 22 CFR 96.91,
             and 96.92):

             -         The names of adoption service providers that have a pending application for
                       accreditation or approval, and if so, the date of application, whether the
                       application is under active consideration or whether a decision on the
                       application has been deferred.
             -         The names of the adoption service providers that have been subject to
                       withdrawal of temporary accreditation, suspension, cancellation, refusal to
                       renew accreditation or approval, or debarment, and a brief statement of the
                       reasons for the action(s).
             -         The names of the adoption service providers that have discontinued their
                       accreditation or approval and the reason for the discontinuation (e.g., voluntary
                       decision to discontinue the accreditation or approval process; voluntarily
                       termination of its accreditation or approval, closure).
             -         For an accredited or approved adoption service provider, information about the
                       status of adverse actions and the nature of substantiated violations of the
                       Hague standards resulting from investigation of complaints and other
                       monitoring and oversight activities (see 22 CFR 96.92 (b)).

     C. Disclosure of Information to Others

        1.   Disclosure to Evaluators and Commissions

                 COA has the discretion to share information with evaluators and Commissioners, in
                 addition to self-study and accreditation or approval decision-making documents,
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          when the information is germane to the accreditation/approval, renewal, or adverse
          action decision-making processes.

     2.   Exchange of Information with Licensing/Regulatory/Governmental Authorities


          COA has the authority to disclose necessary information about an applicant or
          accredited/approved adoption service provider to licensing/regulatory and/or
          governmental officials, in order to:

          a. respond to inquiries;
          b. cooperate with investigative activities; and/or
          c. conduct investigative activities as per 22 CFR 96.71(b)(2).

          COA will report to a state licensing authority any adverse actions taken against an
          accredited or approved adoption service provider that changes its accreditation or
          approval status.

          Following consultation with the U.S. Department of State and governed by 22 CFR
          96.72, COA must refer, as appropriate, to a state licensing authority, Attorney
          General, or other law enforcement authorities any substantiated complaints that
          involve conduct that is:

          a. subject to the civil or criminal penalties imposed by section 404 of the IAA;
          b. in violation of the Immigration and Nationality Act; or,
          c. otherwise in violation of federal, state or local law.

     3. Disclosure of Third-Party Information

          COA may disclose information obtained from third-parties about an applicant or
          accredited/approved adoption service provider to other third-parties in order to
          corroborate information in connection with the accreditation/approval the renewal
          process, the investigation of complaints pursuant to 22 CFR 96.71, or other
          processes for which such sharing is necessary and appropriate to fulfill COA‟s duties
          under 22 CFR Part 96 and memorandum of agreement between the U.S.
          Department of State and COA regarding the performance of duties as an accrediting
          entity under the IAA.

          COA also may provide such information obtained from third-parties with the applicant
          or accredited/approved adoption service provider in order to corroborate such
          information or permit such applicant or adoption service provider the opportunity to
          provide an explanation for or response to such information. COA takes the privacy of
          third-parties seriously and will generally not disclose the source of third-party
          information.

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        4. Serious Conditions

           COA personnel, evaluators, Commissioners and trustees may have an ethical
           responsibility or legal duty to disclose information learned during an accreditation or
           approval review process to appropriate authorities if the information raises a serious
           concern about stakeholder health or safety. The COA representative notifies COA‟s
           President/CEO of the situation and the necessary steps to be taken.

        5. State or Other Confidentiality Laws

           COA requires adoption service providers to provide COA with copies of any state or
           federal confidentiality law, which, in the adoption service provider‟s opinion, prohibits
           COA from disclosing information pursuant to these procedures. COA‟s President/
           CEO will review the information presented by the adoption service provider and will
           seek the opinion of legal counsel.

     D. Dissemination of Information to Adoption Service Providers

        1. Accreditation or Approval Notifications

           COA notifies the adoption service provider in writing of their accreditation or
           approval.


           COA provides the adoption service provider a marketing toolkit with sample news
           releases and letters to use in publicizing its accreditation or approval.

        2. Accreditation or Approval Certificate/Logo

           COA provides an accredited or approved adoption service provider with a Hague
           Convention accreditation or approval certificate for display, as well as copies of a
           certification mark for use on adoption service provider stationery, while accredited or
           approved by COA.

           If an accredited or approved adoption service provider becomes unaccredited or
           unapproved, it must not represent itself as an accredited or approved provider during
           the applicable period. Specifically, the adoption service provider must discontinue
           using any documentation that states or implies that it is Hague accredited or approved,
           including the use of stationery with the Hague Convention certification mark and the
           display of a Hague Convention certificate.

        3. Accredited or Approved Status Disclosure

           In addition to responding to inquiries regarding the accreditation or approval status
           from individuals, organization, and entities (Part (B)(1)), COA provides lists of
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            accredited or approved adoption service providers to the media, regulators, funders,
            and other stakeholders upon receipt of applicable requests, in addition to posting this
            list on its website. COA may also list its accredited or approved adoption service
            providers in its publications, such as its annual report or conference program.

     E.   Reporting to the U.S. Department of State about Accredited/Approved Adoption
          Service Providers and Their Activities

          1. Annual and Semi-Annual Reporting

            COA submits annual reports to the U.S. Department of State on information it collects
            from accredited or approved adoption service providers (see 22 CFR 96.93). This
            information includes:

             a.           The total number of intercountry adoptions undertaken (cases involving children
                         immigrating to the United States) by the adoption service provider each year in
                         both Convention and non-Convention cases, and for each case:

                         i. the Convention country or other country from which the child immigrated;
                         ii. the State to which the child immigrated;
                         iii. the State, Convention country, or other country in which the adoption was
                               finalized;
                         iv. the age of the child; and,
                         v. the date of the child‟s placement for adoption.

             b.          The total number of intercountry adoptions undertaken (cases involving children
                         emigrating from the United States) by the adoption service provider each year in
                         both Convention and non-Convention cases, and, for each case:

                     i.     the State from which the child emigrated;
                    ii.     the Convention country or other country to which the child immigrated;
                   iii.     the State, Convention country, or other country in which the adoption was
                             finalized;
                   iv.      the age of the child; and,
                    v.      the date of the child‟s placement for adoption.

             c.           For each disrupted placement involving a Convention adoption, information and
                         reports about the disruption, including information on:

                    i.      the Convention country from which the child emigrated;
                   ii.      the State to which the child immigrated;
                  iii.      the age of the child;
                  iv.       the date of the child‟s placement for adoption;

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            v.      the reason(s) for and resolution(s) of the disruption of the placement for
                    adoption, including information on the child‟s re-placement for adoption and
                    final legal adoption;
       vi.          the names of the agencies or persons that handled the placement for
                    adoption; and,
       vii.         the plans for the child.

       d. Wherever possible, for dissolution of each Convention adoption, information and
          reports on the dissolution, including information on:

           i.       the Convention country from which the child emigrated;
          ii.       the State to which the child immigrated;
         iii.       the age of the child;
         iv.        the date of the child‟s placement for adoption;
          v.        the reason(s) for and resolution(s) of the dissolution of the adoption, to the
                    extent known by the adoption service provider;
         vi.        the names of the agencies or persons that handled the placement for
                    adoption; and,
        vii.        the plans for the child.

       e.        information on the shortest, longest, and average length of time it takes to
                 complete a Convention adoption, set forth by the child‟s country of origin,
                 calculated from the time the child is matched with the prospective adoptive
                 parent(s) until the time the adoption is finalized by a court, excluding any period
                 for appeal.

       f. information on the range of adoption fees, including the lowest, highest, average,
           and the median of such fees, set forth by the child‟s country of origin, charged by
           the adoption service provider for Convention adoptions involving children
           immigrating to the United States in connection with their adoption.

       g. if the adoption service provider provides adoption services in cases not subject to
          the Convention that involve a child emigrating from the United States for the
          purpose of adoption or after an adoption has been finalized, it demonstrates to
          COA that it has provided such information as required by the U.S. Department of
          State directly to the U.S. Department of State.

      COA submits no less than semi-annual reports to the U.S. Department of State that
      summarize for the preceding six-month period the following information:

              a. the accreditation and approval status of applicants, accredited agencies, and
                 approved persons;
              b. any instances where it has denied accreditation or approval;


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               c. any adverse actions taken against an accredited or approved adoption service
                  provider;
               d. all substantiated complaints against accredited or approved adoption service
                  providers and the impact of such complaints on their accreditation or
                  approved status;
               e. the number, nature, and outcome of complaint investigations carried out by
                  COA, as well as the shortest, longest, average, and median length of time
                  expended to complete complaint investigations; and,
               f. any discernible patterns in complaints received about specific adoption
                  service providers, as well as any discernible patterns of complaints in the
                  aggregate.

     2.   30-Day Reporting

           COA reports to the U.S. Department of State within thirty (30) days from the time it
          learns that an accredited or approved adoption service provider has:

               a. ceased to provide adoption services; or,
               b. transferred its Convention cases and adoption records.


     3. Immediate Notification

          COA will immediately notify the U.S. Department of State in writing of the following
          when it:

          a. accredits or approves an adoption service provider;
          b. denies an application for accreditation or approval;
          c. renews the accreditation or approval of an adoption service provider;
          d. takes an adverse action against an accredited or approved adoption service
             provider that impacts its accreditation or approval status; or,
          e. substantiates a complaint that:

               i.  reveals that an accredited or approved service provider has engaged in a
                   pattern of serious, willful, grossly negligent conduct, or has repeatedly failed
                   to comply with the standards; or,
               ii. indicates that continued accreditation or approval would not be in the best
                   interests of the children and families concerned.




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                                            XVII. Complaints

     1.   COA‟s Policy and Procedure for Receipt and Review of Complaints Against Itself

          COA‟s policy for receiving and reviewing complaints against itself is located in Hague
          Accreditation and Approval Policies and Procedures Manual, under section XVII.
          Complaints. This manual is available on COA‟s website at: http://www.COAnet.org.

          COA believes in accessible complaint procedures and simply states the process a party
          needs to take to raise a concern regarding COA‟s own actions and/or performance as
          an accrediting entity to COA‟s attention.

          COA manages and responds to all complaints it receives about its own actions and
          performance as an accrediting entity for Hague accreditation and approval. Any applicant
          for accreditation or approval, an accredited or approved adoption service provider, or any
          other complaining party may make a complaint. All complaints will be dealt with
          objectively and expeditiously. All complaining parties deserve and will receive
          conscientious respect.

          A party with a concern about COA is encouraged to speak directly with the person(s)
          involved in the concern and attempt to resolve the concern through discussion before
          filing a complaint. If COA determines the concern is urgent or very serious, COA will not
          wait to take action until receipt of a written complaint. COA ensures that all urgent issues
          are brought to the immediate attention of COA‟s President/CEO.

          In accordance with 22 CFR Part 96.71(e), COA may not take any action to discourage
          an individual from, or retaliate against an individual for, making a complaint, expressing
          a grievance, questioning the conduct of, or expressing an opinion about the
          performance of a Hague accredited or approved adoption service provider or COA as
          an accrediting entity.

     Step 1

     Complaints must be submitted in writing and must include: the complainant‟s name, address,
     email address and telephone number; and brief description of the situation being complained
     about (including any COA staff, contractors, or volunteers involved) and the requested
     remedy.

     Complaints can be submitted to COA by any one of the following methods:
     email to: the Director of Quality Services Management at: reportaconcern@coanet.org;
     mail to: COA, 45 Broadway, 29th Floor, New York, NY 10006, ATTENTION: QSM; or
     fax to: 212.797.1428, ATTENTION: QSM:

     Step 2

     COA will acknowledge in writing the receipt of the complaint. COA will take reasonable steps
     to verify the information in the complaint, weighing facts as well as intangible factors to

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         determine merit of the complaint. If necessary and appropriate, COA will implement
         appropriate corrective or improvement actions internally to prevent reoccurrence.

         Step 3

         COA will provide the complainant a written response to the complaint, generally within thirty
         (30) calendar days of receipt of the complaint. If COA is not able to resolve the complaint
         within that timeframe, COA will explain the reason for the need for additional time and will
         provide a timeframe for its response to the complainant.

         Step 4

         If the complainant is dissatisfied with COA‟s response, he/she may file a complaint directly
         with the U.S. Department of State, to the attention of the Accrediting Entity Liaison, at:
         AdoptionUSCA@state.gov or via fax at: 202.736.9080.

         Please contact COA‟s Director of Quality Services Management with any questions about
         COA‟s procedure for responding to complaints against itself at: jfulmer@coanet.org or 212-
         797-3000 ext. 241.

     2. Complaints Received against Evaluators/Site Visit Concerns

        a.     Bringing Forth Evaluator Complaints/Site Visit Concerns

               COA encourages an adoption service provider or other complaining party to bring
               any complaints or concerns about an evaluator or site visit experience to COA‟s
               attention for resolution. The complaining party may bring an evaluator/site visit
               complaint or concern to the attention of COA as discussed in the following
               paragraphs.

        b.     Initiation of Evaluator Complaints/Time Constraints
               An adoption service provider, during or after the site visit, may initiate a complaint
               against an evaluator(s) due to an occurrence/incident, including evaluator(s) conduct
               during the site visit process, by first notifying COA verbally of the complaint/concern.
               All complaints by telephone or e-mail should be directed to COA‟s Director of
               Volunteer Services. If the complaint is initially submitted by the methods above, COA
               will request the complaint in writing.
               A written complaint must:
                      Describe clearly the evaluator(s) action(s) that are in question.
                      Be signed by the complaining party (individual adoption service provider or
                       the chief executive officer or chief administrator of an agency).
                      Be received by COA within ten (10) business days after completion of the site
                       visit.
                      Be addressed to the attention of COA‟s Director of Volunteer Services.

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                  COA does not consider an evaluator complaint as having been filed until the
                  complaining party complies with all of the above requirements.

                  COA acknowledges the receipt of an evaluator complaint in writing after the
                  adoption service provider complies with all filing requirements.

     c.        Requirement of Cooperation

               COA expects the complaining party to cooperate with its evaluator complaint
               procedures (e.g., by responding to any requests). An adoption service provider‟s
               failure to cooperate with the established process is grounds for COA dismissing
               the evaluator complaint.

     d.        Notification of Evaluator/Opportunity to Respond
               COA notifies the evaluator of a received complaint in writing by a form of
               transmission by which COA can demonstrate receipt by the addressee (e.g.,
               certified mail or any other trackable delivery system). COA provides the
               evaluator with the opportunity to respond to the evaluator complaint within a
               specific period of time that is determined by COA.
     e.        Complaint Review
               COA, upon receipt of a complaint, reviews the complaint and contacts the
               complaining party with any preliminary questions. An evaluator complaint is
               reviewed by COA in a timely manner. COA reviews all information provided
               regarding the complaint including, but not limited to, the complaint, supporting
               material(s), if provided, and the evaluator(s) response.
     f.        Possible Decisions/Additional Site Visits

               COA either substantiates or does not substantiate a complaint against an
               evaluator. When COA does not substantiate a complaint against an evaluator,
               COA proceeds with the accreditation or approval process.

               When COA substantiates an evaluator complaint, COA determines whether the
               actions of the evaluator(s) require the need for an additional site visit. The
               adoption service provider is not charged a fee for any site visit necessitated by
               evaluator conduct but must cooperate with COA in connection with facilitating an
               additional site visit. When COA substantiates an evaluator complaint, COA must
               set forth as part of the written response to the complaining party the impact of the
               substantiated evaluator complaint, including whether evaluator actions require
               the need for an additional site visit.
               COA notifies the complaining party and evaluator(s) of its decision in writing.
               Complaint decisions by COA are final and not subject to additional review.


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     XVIII: COA Required Posting for the Adoption Service
     Provider’s Website
     COA requires all applicants for Hague Accreditation or Approval and applicants for
     renewal of Hague Accreditation or Approval to post on their own website information
     explaining how the public may access and provide comment about the adoption service
     provider‟s inter-country adoption services.

     The posting must be placed on the adoption service provider‟s website within thirty (30)
     calendar days from the date on which the adoption service provider has signed the
     accreditation/approval agreement.

     The posting may be removed from the adoption service provider‟s website upon date of
     notification from COA of the adoption service provider‟s accreditation or approval or
     renewal of accreditation or approval.

     The posting must be displayed in a conspicuous location on the main page of the
     adoption service provider‟s website.

     This posting must be in the following standardized format:

     PUBLIC COMMENT OPPORTUNITY

     The Council on Accreditation (COA), a national accrediting body approved by the
     United States Department of State to conduct Hague accreditation and approval
     reviews, invites the public to provide comment on intercountry adoption service
     providers seeking Hague accreditation or approval or renewal of Hague
     accreditation or approval. You may provide comment by clicking on: <link to be
     inserted by COA>.




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           XIX. COA WEB-BASED ACCREDITATION/APPROVAL

     Effective April 1, 2012, COA‟s accreditation/approval and renewal of accreditation/approval
     processes, inclusive of all phases, will be an online process. All consumers that apply for
     accreditation/approval or renewal beginning August 13, 2012 must submit all accreditation
     related documents and information via their assigned MyCOA Portal accounts.

     Only employees of an applicant seeking Hague accreditation/approval or renewal of Hague
     accreditation/approval are eligible to receive MyCOA Portal accounts.
     All consumers that are in-process on April 1, 2012 will transition to an online process based
     on their self-study due dates.




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